      Case: 24-1324    Document: 36     Page: 1    Filed: 03/11/2024




                      Nos. 24-1324, 24-1409

                               IN THE

          United States Court of Appeals
                  FOR THE FEDERAL CIRCUIT

                           NATERA, INC.,
                                        Plaintiff-Appellee,
                                  V.

              NEOGENOMICS LABORATORIES, INC.,
                                        Defendant-Appellant.

            On Appeal from the United States District Court
               for the Middle District of North Carolina
              No. 1:23-cv-629, Hon. Catherine C. Eagles


       RESPONSE BRIEF FOR APPELLEE NATERA, INC.


Victoria F. Maroulis                   Jeffrey A. Lamken
Kevin P.B. Johnson                     Robert K. Kry
QUINN EMANUEL URQUHART                 Lauren M. Weinstein
  & SULLIVAN, LLP                      Walter H Hawes IV
555 Twin Dolphin Shores, Floor 5       MOLOLAMKEN LLP
Redwood Shores, CA 94065               The Watergate, Suite 500
(650) 801-5000 (telephone)             600 New Hampshire Avenue, N.W.
(650) 801-5100 (fax)                   Washington, D.C. 20037
victoriamaroulis@quinnemanuel.com      (202) 556-2000 (telephone)
                                       (202) 556-2001 (fax)
                                       jlamken@mololamken.com

                   Counsel for Appellee Natera, Inc.
              (Additional Counsel Listed on Inside Cover)
       Case: 24-1324     Document: 36    Page: 2   Filed: 03/11/2024




Sandra L. Haberny                       Sara E. Margolis
QUINN EMANUEL URQUHART                  Jonathan E. Barbee
  & SULLIVAN, LLP                       MOLOLAMKEN LLP
865 South Figueroa Street, Floor 10     430 Park Avenue, Floor 6
Los Angeles, CA 90017                   New York, NY 10022
(213) 443-3000 (telephone)              (212) 607-8160 (telephone)
(213) 443-3100 (fax)                    (212) 607-8161 (fax)

Kevin A. Smith
Tara Srinivasan
QUINN EMANUEL URQUHART
  & SULLIVAN, LLP
50 California Street, Floor 22
San Francisco, CA 94111
(415) 875-6600 (telephone)
(415) 875-6700 (fax)

                     Counsel for Appellee Natera, Inc.
           Case: 24-1324     Document: 36    Page: 3    Filed: 03/11/2024




                           PATENT CLAIMS AT ISSUE

Claim 1 of U.S. Patent No. 11,519,035 recites:

      1. A method for amplifying and sequencing DNA, comprising:

             [a]   tagging isolated cell free DNA with one or more universal tail
                   adaptors to generate tagged products, wherein the isolated cell-
                   free DNA is isolated from a blood sample collected from a
                   subject who is not a pregnant women;

             [b]   amplifying the tagged products one or more times to generate
                   final amplification products, wherein one of the amplification
                   steps comprises targeted amplification of a plurality of single
                   nucleotide polymorphism (SNP) loci in a single reaction volume,
                   wherein one of the amplifying steps introduces a barcode and one
                   or more sequencing tags; and

             [c]   sequencing the plurality of SNP loci on the cell free DNA
                   by conducting massively parallel sequencing on the final
                   amplification products, wherein the plurality of SNP loci
                   comprises 25-2,000 loci associated with cancer.

Claim 12 of the ’035 Patent recites:

      12. The method of claim 1, wherein the one or more universal tail adaptors
      comprise a first universal tail adaptor and a second universal tail adaptor.

Claim 13 of the ’035 Patent recites:

      13. The method of claim 12, wherein tagging the cell free DNA comprises
      amplifying the cell free DNA with a first primer comprising the first universal
      tail adaptor and a second primer comprising the second universal tail adaptor.

Appx244-45 (249:44-62, 251:7-13).
               Case: 24-1324        Document: 36    Page: 4   Filed: 03/11/2024



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 24-1324, 24-1409
   Short Case Caption Natera, Inc. v. NeoGenomics Laboratories, Inc.
   Filing Party/Entity Natera, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        3/11/2024
  Date: _________________                   Signature:    /s/ Jeffrey A. Lamken

                                            Name:         Jeffrey A. Lamken
               Case: 24-1324          Document: 36      Page: 5       Filed: 03/11/2024



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




Natera, Inc.




                                  ‫܆‬      Additional pages attached
               Case: 24-1324      Document: 36       Page: 6   Filed: 03/11/2024



FORM 9. Certificate of Interest                                                    Form 9 (p. 3)
                                                                                    March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable              ‫܆‬         Additional pages attached

Williams Mullen                   Andrew J. Bramhall           Andrew R. Shores

Carmelle F. Alipio                Joshua Hiram Harris          Robert Van Arnam




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No    ✔
                                                           ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬         Additional pages attached
                Case: 24-1324            Document: 36            Page: 7         Filed: 03/11/2024




                                        TABLE OF CONTENTS
                                                                                                                  Page

STATEMENT OF THE CASE ..................................................................................1

I.       The ʼ035 Patent’s Innovation over the Prior Art and Signatera’s
         Resulting Success ............................................................................................1

         A.       Obstacles in Prior Art Methods .............................................................1

         B.       Natera Overcomes Those Obstacles......................................................5

         C.       Signatera Becomes the Market Leader in cfDNA MRD Tests .............8

         D.       RaDaR’s Infringement ..........................................................................9

II.      Proceedings Below ........................................................................................10

         A.       Natera’s Complaint and Request for Preliminary Injunction..............10

         B.       The District Court’s Carefully Crafted Injunction ..............................12

         C.       The District Court’s Denial of the Motions To Stay and
                  Modify the Injunction..........................................................................16

SUMMARY OF ARGUMENT ...............................................................................18

ARGUMENT ...........................................................................................................22

I.       The District Court Correctly Found No Substantial Question
         Regarding the ʼ035 Patent’s Validity ............................................................22

         A.       The District Court Did Not Apply the Wrong Legal Standard in
                  Assessing Motivation To Combine .....................................................23

         B.       The District Court Did Not Improperly Fail To Tether Its
                  Motivation-To-Combine Analysis to the Claim Scope.......................26

         C.       The District Court’s Factual Findings Are Not Clearly
                  Erroneous.............................................................................................28
                Case: 24-1324             Document: 36            Page: 8        Filed: 03/11/2024




II.      The District Court Correctly Found No Substantial Question
         Regarding Infringement .................................................................................35

         A.       Ample Evidence Supports the District Court’s Finding of
                  Likely Infringement .............................................................................35

         B.       The District Court Did Not Omit Any Required Claim
                  Construction ........................................................................................40

III.     The District Court Did Not Abuse Its Discretion in Finding that
         Natera Would Suffer Irreparable Harm .........................................................43

         A.       Natera’s Threatened Loss of Market Share Supports the Finding
                  of Irreparable Harm .............................................................................43

         B.       Natera Did Not Unreasonably Delay ..................................................46

         C.       Natera’s Evidence of Future Lost Sales Was Sufficient .....................48

         D.       NeoGenomics’ Infringement Has a Sufficient Causal Nexus.............49

         E.       The District Court Did Not Misapply This Court’s Precedents
                  Regarding Two-Party Markets ............................................................53

         F.       Natera’s Bond Does Not Foreclose Irreparable Harm ........................54

IV.      The District Court Did Not Abuse Its Discretion in Addressing the
         Remaining Injunction Factors .......................................................................55

         A.       The Public Interest Favors an Injunction ............................................55

         B.       The Equities Favor an Injunction ........................................................58

V.       The Court Did Not Abuse Its Discretion with Respect to the Scope of
         the Injunction .................................................................................................60

         A.       NeoGenomics Forfeited Any Complaint About the Preliminary
                  Injunction’s Scope ...............................................................................61

         B.       The District Court Did Not Abuse Its Discretion ...............................63

CONCLUSION ........................................................................................................65

                                                            ii
               Case: 24-1324           Document: 36          Page: 9       Filed: 03/11/2024




                                   TABLE OF AUTHORITIES
                                                                                                      Page(s)
                                                   CASES

Advanced Commc’ns Design, Inc. v. Premier Retail Networks, Inc.,
  46 F. App’x 964 (Fed. Cir. 2002) ....................................................................... 46

Allergan, Inc. v. Apotex, Inc.,
   754 F.3d 952 (Fed. Cir. 2014) ......................................................................27, 28

Amazon.com, Inc. v. Barnesandnoble.com, Inc.,
  239 F.3d 1343 (Fed. Cir. 2001) .......................................................................... 24

Amgen Inc. v. Sandoz Inc.,
  923 F.3d 1023 (Fed. Cir. 2019) ..............................................................19, 37, 38

Apple, Inc. v. Samsung Elecs. Co.,
  678 F.3d 1314 (Fed. Cir. 2012) ..............................................................21, 47, 51

Apple Inc. v. Samsung Elecs. Co.,
  695 F.3d 1370 (Fed. Cir. 2012) .......................................................................... 15

Apple Inc. v. Samsung Elecs. Co.,
  809 F.3d 633 (Fed. Cir. 2015) ................................................................51, 52, 55

Ariosa Diagnostics, Inc. v. Sequenom, Inc.,
   788 F.3d 1371 (Fed. Cir. 2015) ..............................................................32, 33, 34

Atlas Powder Co. v. Ireco Chems.,
   773 F.2d 1230 (Fed. Cir. 1985) .......................................................................... 48

Auris Health, Inc. v. Intuitive Surgical Operations, Inc.,
  32 F.4th 1154 (Fed. Cir. 2022) ........................................................................... 26

Aventis Pharms. Inc. v. Amino Chems. Ltd.,
   715 F.3d 1363 (Fed. Cir. 2013) .......................................................................... 35

In re Bilski,
    545 F.3d 943 (Fed. Cir. 2008) ............................................................................ 34

Bio-Rad Labs., Inc. v. 10X Genomics Inc.,
   967 F.3d 1353 (Fed. Cir. 2020) ..............................................................20, 44, 59


                                                       iii
              Case: 24-1324           Document: 36          Page: 10        Filed: 03/11/2024




BlephEx, LLC v. Myco Indus., Inc.,
   24 F.4th 1391 (Fed. Cir. 2022) ....................................................................passim

Bluebonnet Sav. Bank, F.S.B. v. United States,
   466 F.3d 1349 (Fed. Cir. 2006) .......................................................................... 42

Bos. Sci. SciMed, Inc. v. Iancu,
  811 F. App’x 618 (Fed. Cir. 2020) ..................................................................... 41

Broadcom Corp. v. Emulex Corp.,
   732 F.3d 1325 (Fed. Cir. 2013) .......................................................................... 63

Broadcom Corp. v. Qualcomm Inc.,
   543 F.3d 683 (Fed. Cir. 2008) ............................................................................ 40

Carborundum Co. v. Molten Metal Equip. Innovations, Inc.,
  72 F.3d 872 (Fed. Cir. 1995) .............................................................................. 62

CareDx, Inc. v. Natera, Inc.,
  40 F.4th 1371 (Fed. Cir. 2022) .....................................................................33, 34

Celsis In Vitro, Inc. v. CellzDirect, Inc.,
   664 F.3d 922 (Fed. Cir. 2012) ......................................................................29, 61

Conoco, Inc. v. Energy & Env’t Int’l, L.C.,
  460 F.3d 1349 (Fed. Cir. 2006) .......................................................................... 40

Cuviello v. City of Vallejo,
  944 F.3d 816 (9th Cir. 2019) .............................................................................. 46

Douglas Dynamics, LLC v. Buyers Prods. Co.,
  717 F.3d 1336 (Fed. Cir. 2013) ....................................................................44, 45

Favia v. Ind. Univ. of Pa.,
  7 F.3d 332 (3d Cir. 1993) ................................................................................... 62

Fresenius USA, Inc. v. Baxter Int’l, Inc.,
   582 F.3d 1288 (Fed. Cir. 2009) ....................................................................47, 50

Golden Bridge Tech., Inc. v. Apple Inc.,
  758 F.3d 1362 (Fed. Cir. 2014) .......................................................................... 42




                                                       iv
               Case: 24-1324           Document: 36           Page: 11        Filed: 03/11/2024




Hilgraeve Corp. v. Symantec Corp.,
   265 F.3d 1336 (Fed. Cir. 2001) .......................................................................... 64

Hybritech Inc. v. Abbott Labs.,
  849 F.2d 1146 (Fed. Cir. 1988) ..............................................................46, 47, 55

i4i Ltd. P’ship v. Microsoft Corp.,
    598 F.3d 831 (Fed. Cir. 2010) ............................................................................ 59

Int’l Ass’n of Fire Fighters, Local 365 v. City of East Chicago,
    56 F.4th 437 (7th Cir. 2022) ............................................................................... 46

Intellectual Ventures I LLC v. Symantec Corp.,
   838 F.3d 1307 (Fed. Cir. 2016) .......................................................................... 34

Intelligent Bio-Sys., Inc. v. Illumina Cambridge Ltd.,
   821 F.3d 1359 (Fed. Cir. 2016) .......................................................................... 27

In re Invitae Corp.,
    No. 24-11362 (Bankr. D.N.J.) ............................................................................ 54

Kingsdown Med. Consultants, Ltd. v. Hollister Inc.,
   863 F.2d 867 (Fed. Cir. 1988) ............................................................................ 47

KSR Int’l Co. v. Teleflex Inc.,
  550 U.S. 398 (2007) ............................................................................................ 25

Littelfuse, Inc. v. Mersen USA EP Corp.,
    29 F.4th 1376 (Fed. Cir. 2022) ........................................................................... 39

MCM Portfolio LLC v. Hewlett-Packard Co.,
  812 F.3d 1284 (Fed. Cir. 2015) .......................................................................... 41

Metalcraft of Mayville, Inc. v. Toro Co.,
  848 F.3d 1358 (Fed. Cir. 2017) ...................................................................passim

Miles Labs., Inc. v. Shandon Inc.,
   997 F.2d 870 (Fed. Cir. 1993) ................................................................28, 30, 34

Mylan Institutional LLC v. Aurobindo Pharma Ltd.,
  857 F.3d 858 (Fed. Cir. 2017) ................................................................23, 29, 51




                                                         v
              Case: 24-1324           Document: 36          Page: 12        Filed: 03/11/2024




Novartis AG v. Torrent Pharms. Ltd.,
  853 F.3d 1316 (Fed. Cir. 2017) .......................................................................... 27

O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co.,
  449 F. App’x 923 (Fed. Cir. 2011) ..................................................................... 61

Pfizer, Inc. v. Teva Pharms., USA, Inc.,
   429 F.3d 1364 (Fed. Cir. 2005) .......................................................................... 60

Philip Morris, Inc. v. Harshbarger,
   159 F.3d 670 (1st Cir. 1998) ............................................................................... 61

Phillips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005) .......................................................................... 40

Plant Genetic Sys., N.V. v. DeKalb Genetics Corp.,
   315 F.3d 1335 (Fed. Cir. 2003) .......................................................................... 31

Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc.,
  711 F.3d 1348 (Fed. Cir. 2013) .......................................................................... 35

PPG Indus., Inc. v. Guardian Indus. Corp.,
  75 F.3d 1558 (Fed. Cir. 1996) ............................................................................ 22

Presidio Components Inc. v. Am. Tech. Ceramics Corp.,
   702 F.3d 1351 (Fed. Cir. 2012) ....................................................................44, 53

Robert Bosch LLC v. Pylon Mfg. Corp.,
  659 F.3d 1142 (Fed. Cir. 2011) .......................................................................... 53

Ruiz v. A.B. Chance Co.,
   357 F.3d 1270 (Fed. Cir. 2004) .......................................................................... 28

Sage Prod., Inc. v. Devon Indus., Inc.,
   126 F.3d 1420 (Fed. Cir. 1997) .......................................................................... 50

Sanofi-Synthelabo v. Apotex, Inc.,
   470 F.3d 1368 (Fed. Cir. 2006) ....................................................................43, 55

Shuffle Master, Inc. v. VendingData Corp.,
   163 F. App’x 864 (Fed. Cir. 2005) ..................................................................... 42




                                                       vi
               Case: 24-1324             Document: 36            Page: 13         Filed: 03/11/2024




Sofamor Danek Grp., Inc. v. DePuy-Motech, Inc.,
   74 F.3d 1216 (Fed. Cir. 1996) ............................................................................ 42

Summit 6, LLC v. Samsung Elecs. Co.,
  802 F.3d 1283 (Fed. Cir. 2015) .......................................................................... 42

TEK Glob., S.R.L. v. Sealant Sys. Int’l, Inc.,
  920 F.3d 777 (Fed. Cir. 2019) ......................................................................51, 52

Tinnus Enters., LLC v. Telebrands Corp.,
   846 F.3d 1190 (Fed. Cir. 2017) .......................................................................... 35

Titan Tire Corp. v. Case New Holland, Inc.,
   566 F.3d 1372 (Fed. Cir. 2009) .......................................................................... 23

TiVo Inc. v. EchoStar Corp.,
   646 F.3d 869 (Fed. Cir. 2011) ............................................................................ 63

Toro Co. v. Deere & Co.,
   355 F.3d 1313 (Fed. Cir. 2004) .......................................................................... 42

Trebro Mfg., Inc. v. Firefly Equip. LLC,
   748 F.3d 1159 (Fed. Cir. 2014) .......................................................................... 48

United States v. W.T. Grant Co.,
  345 U.S. 629 (1953) ............................................................................................ 48

                                            STATUTES AND RULES

35 U.S.C. § 101 ........................................................................................................34

35 U.S.C. § 103 ........................................................................................................34

Fed. R. Civ. P. 65(c)................................................................................................. 55

                                            OTHER AUTHORITIES

9 James Wm. Moore, Moore’s Federal Practice (3d ed. 2022) .............................. 34

Natera, Inc. v. ArcherDX, Inc.,
  No. 1:20-cv-00125-GBW, Doc. 685 (D. Del. Jan. 5, 2024) ............................... 54



                                                           vii
             Case: 24-1324          Document: 36          Page: 14      Filed: 03/11/2024




Press Release, Medicare Extends Coverage of Natera’s Signatera
   MRD Test to Ovarian Cancer and Neoadjuvant Breast Cancer
   (Feb. 26, 2024), https://bit.ly/48u6Eor ...........................................................9, 56




                                                   viii
           Case: 24-1324     Document: 36      Page: 15   Filed: 03/11/2024




                      STATEMENT OF RELATED CASES

      No appeal involving U.S. Patent No. 11,519,035 is, or has previously been,

before this Court or any other court. Natera, Inc. is not aware of any other pending

case in this or any other tribunal that will directly affect or be directly affected by

this Court’s decision within the meaning of Federal Circuit Rule 47.5.




                                          ix
             Case: 24-1324    Document: 36   Page: 16   Filed: 03/11/2024




                             STATEMENT OF THE CASE

I.    THE ʼ035 PATENT’S INNOVATION OVER THE PRIOR ART AND SIGNATERA’S
      RESULTING SUCCESS

      This case arises out of Natera’s groundbreaking invention: an innovative

approach to amplifying and sequencing cell-free DNA.

      A.       Obstacles in Prior Art Methods

      DNA is generally contained within cells. Appx7659. Cell-free DNA, or

“cfDNA,” is DNA that has been released from cells into the bloodstream, typically

when a cell dies. Appx7559 ¶ 36.

      In cancer patients, both healthy cells and cancer cells release cfDNA into the

bloodstream. The cfDNA from cancer cells is called circulating tumor DNA, or

“ctDNA.” Appx7559 ¶ 36; Appx18755 ¶ 18. Tests capable of measuring ctDNA

in the bloodstream can identify cancer relapses early, before tumors are large

enough to detect through an MRI or biopsy. Appx241 (244:60-245:26); Appx7558-

59 ¶¶ 34-35.

      While the theoretical advantages of using cfDNA to monitor health conditions

were known in the prior art, Appx121 (3:15-52), skilled artisans recognized serious

obstacles.     For example, although DNA may be processed using a technique

called polymerase chain reaction (“PCR”) that makes copies of the DNA through

“amplification” cycles, skilled artisans perceived major obstacles to amplifying

cfDNA in the manner claimed in the ’035 Patent—particularly where multiple
              Case: 24-1324   Document: 36   Page: 17   Filed: 03/11/2024




sequences would be targeted and amplified together in a single reaction volume

(a process known as “targeted multiplex amplification”). Appx138 (37:31-42);

Appx161-62 (84:15-85:20); Appx18829-30 ¶ 160.

      Among other obstacles, the amount of cfDNA in the bloodstream is very low,

and given that ctDNA is a tiny fraction of the total cfDNA in a cancer patient, the

amount of ctDNA is far lower still. Appx18756-57 ¶¶ 20-21. That low concentration

makes it challenging to amplify parts of the DNA (the “target loci”) that may

indicate cancer. Appx18755-59 ¶¶ 18-22; Appx136 (34:58-62). Those obstacles are

particularly severe when all of the biochemical reagents needed to perform targeted

multiplex amplification are mixed together in the same reaction volume: The

reagents can interfere with one another and create large amounts of unwanted

byproducts, or “junk,” that further dilute the already scarce ctDNA. Appx20183-

86 (30:6-31:14, 33:8-21).

      Those byproducts are especially problematic when preparing a sample for

high-throughput next-generation DNA sequencing techniques known as “massively

parallel sequencing”: The byproducts can drown out the signal from the target

ctDNA. Appx179 (120:10-48); Appx20183-86 (30:6-31:14, 33:8-21). Thus, instead

of amplifying the relevant targets, the prior art methods reproduced a lot of

uninformative “junk” that skewed sequencing and measurements and made them

unreliable:



                                         2
          Case: 24-1324    Document: 36     Page: 18   Filed: 03/11/2024




Appx21386; see also Appx121(3:4-14) (noting that “improved methods [we]re

needed to reduce the formation of non-target amplicons during multiplex PCR”).

      Another significant obstacle in the prior art was cfDNA’s fragmented nature.

When cells die, their DNA is broken up into fragments before entering the

bloodstream. Appx7559 ¶ 36. Those cfDNA fragments are tiny compared to the

complete DNA found in cells. Appx18754 ¶ 16; Appx7559 ¶ 36. That fragmentation

makes it more difficult to amplify targets—especially when the targets are very

small. Appx163-64 (88:55-63, 89:5-29); Appx169 (100:51-58); Appx177 (115:39-

49); Appx18754 ¶ 16. That obstacle is particularly acute when a target mutation

associated with cancer is a single nucleotide polymorphism or “SNP”—a mutation

at a single nucleotide base in the human genome.         Appx18754-59 ¶¶ 16-22;

Appx136-37 (34:46-35:2).



                                        3
          Case: 24-1324     Document: 36     Page: 19    Filed: 03/11/2024




      To avoid those problems with targeted multiplex amplification, the prior art

focused on “split-and-pool” methods of amplification. Prior art systems like the

Fluidigm Access Array, used in NeoGenomics’ asserted Kaper reference, would

“split” DNA samples into separate reaction wells and then amplify one or a very

small number of individual targets in each well. Appx162 (85:15-30). Access

Array’s multiple wells are shown below (marked by yellow and blue rectangles):




Appx13113 (Fig. 1). Skilled artisans understood that “split-and-pool” approach to

be necessary to avoid excessive “off-target sequence reads” that would result from

amplifying all DNA targets together in a single reaction well. Appx162 (85:15-29).

According to conventional wisdom, “consolidating multiple reactions into a single

volume” would “introduc[e] complications to the reactions, as opposed to facilitating

them.” Appx18813-14 ¶ 135; see also Appx18816-19 ¶¶ 139, 143.




                                         4
           Case: 24-1324    Document: 36     Page: 20    Filed: 03/11/2024




      “Split-and-pool” methods, however, were ineffective for low-concentration

DNA sources like ctDNA. Appx162 (85:30-33). Because the amount of DNA is

already very low, splitting the samples often caused ctDNA molecules in a sample

to be missed completely: The ctDNA would be randomly distributed into the

individual wells, and there might not be enough ctDNA molecules present to ensure

that there is one copy of a given target locus associated with cancer in a well.

Appx161-62 (84:51-62, 85:21-33). While “split-and-pool” methods worked for

high-concentration sources like tumor biopsy tissue, which is composed entirely of

cancer DNA, skilled artisans understood them to be “problematic for samples with

a limited amount of DNA” like ctDNA.           Appx162-63 (85:21-33, 87:58-88:8);

Appx18827-30 ¶¶ 157-160.

      B.     Natera Overcomes Those Obstacles

      After extensive research and development, Natera overcame the challenges of

low-concentration ctDNA by rejecting the prior art’s focus on split-and-pool

methods. Natera showed that it was possible to prepare cfDNA samples containing

ctDNA by amplifying the cfDNA in a single reaction volume rather than separate

pools. For that breakthrough, Natera was awarded the ’035 Patent on December 6,

2022, with a priority date of May 18, 2011. Appx23, Appx33.

      Claim 1 of the ’035 Patent recites three steps: (1) tagging cfDNA,

(2) targeted amplification of 25-2,000 target SNPs associated with cancer in a single



                                         5
          Case: 24-1324      Document: 36    Page: 21    Filed: 03/11/2024




reaction volume, and (3) massively parallel sequencing. Appx244 (249:46-62). In

the first step, cfDNA is “tagg[ed]” with one or more universal tail adaptors (common

sequences of nucleotides).    Appx244 (249:46-57).      That tagging allows DNA

segments of interest to be further processed in later steps. Appx178 (117:38-48).

      In the second step, those tagged products are “amplif [ied]” one or more times,

including through “targeted amplification” of “25-2,000 [SNPs] associated with

cancer.” Appx244 (249:51-62). Departing from prior art split-and-pool methods,

this step requires targeted multiplex amplification in a “single reaction volume,”

Appx244 (249:51-55):




Appx21047; see also Appx142 (46:41-57) (method “simultaneously amplif [ies] a

large number of target loci in a single multiplex PCR reaction”). The amplifying

step also adds “a barcode and one or more sequencing tags” to the tagged products.

Appx244 (249:55-57).

                                         6
           Case: 24-1324   Document: 36    Page: 22   Filed: 03/11/2024




      Finally, in the third step, the amplified SNP loci are “sequenc[ed]” using

“massively parallel sequencing.”    Appx244 (249:58-62).    The following slide

illustrates one way of tagging cfDNA and amplifying the tagged products according

to the ’035 Patent:




Appx21361.

      Natera’s discovery allowed the ’035 Patent’s method to overcome prior art

challenges associated with targeted amplification of cfDNA in a single reaction

volume. Appx18752-59 ¶¶ 13-22; Appx18825-35 ¶¶ 154-169. By counterintuitively

performing the amplification in a single reaction volume rather than separate

reaction wells, the ’035 Patent showed how it was possible to avoid the pitfalls

of split-and-pool methods when applied to low-concentration DNA sources like

ctDNA, which exists only as a tiny fraction of all cfDNA. Appx18829-30 ¶ 160;



                                       7
           Case: 24-1324     Document: 36     Page: 23    Filed: 03/11/2024




Appx20185-86 (32:11-33:21); Appx20192 (39:1-15); see also Appx143 (47:24-28)

(“[B]eing able to analyze the target loci in one reaction volume . . . rather than

splitting the sample into multiple different reactions reduces variability that can

occur between reactions.”); Appx143 (47:16-19) (similar).

      C.     Signatera Becomes the Market Leader in cfDNA MRD Tests

      Signatera™ is Natera’s commercial embodiment of the ʼ035 Patent.

Appx2443 ¶ 40-41. Launched for research in 2017 and commercial use in 2019,

Appx2443 ¶ 41, Signatera is a groundbreaking test for minimal residual disease

(“MRD”)—a sign of cancer relapse—that amplifies cfDNA in a single reaction

volume, Appx7613-15 ¶¶ 115, 123; Appx7925 ¶ 6. Unlike MRD tests that preceded

it, Signatera is “tumor-informed” as opposed to “tumor-naïve”: Instead of using an

off-the-shelf platform that applies to all patients, DNA from a patient’s own tumor

is used to identify a bespoke signature of specific mutations, which is used to monitor

for the cancer’s recurrence. Appx2434-35 ¶ 24; Appx7925 ¶ 5. By using cfDNA,

Signatera avoids invasive procedures such as biopsies and can detect cancer relapse

at very early stages. Appx7558 ¶ 34.

      Signatera was the first tumor-informed MRD test on the market.

Appx2443 ¶ 11541; Appx7925 ¶¶ 6-7. When Signatera launched, “many people were

skeptical that this personalized, tumor-informed approach for cancer recurrence

monitoring could be done at scale across a large population of patients.”



                                          8
           Case: 24-1324      Document: 36   Page: 24    Filed: 03/11/2024




Appx7925 ¶ 7. Through a “tremendous amount of effort and investment,” Natera

“develop[ed] the clinical evidence to convince physicians, researchers, and

regulatory authorities that this new approach would work.” Appx7926 ¶ 8. After

Signatera was clinically validated in 2015—in a study that reported “93% (13/14)

longitudinal relapse sensitivity and 100% (10/10) specificity in non-small cell lung

cancer patients”—Natera became a “serious player in oncology diagnostics.”

Appx7926 ¶ 9 .

      Natera has remained the market leader. Appx2446 ¶ 45. Oncologists prefer

Signatera over other tests.     Appx16159; Appx2512 ¶ 145.      With good reason:

Clinical studies and over 40 peer-reviewed publications have proven that Signatera

identifies cancer “significantly earlier” than imaging or biopsies. Appx2471-72 ¶ 79.

Signatera has won numerous medical-technology awards and obtained three FDA

Breakthrough Device designations.       Appx2443-46 ¶¶ 42-44.      Medicare covers

Signatera for numerous cancers, with coverage continuing to expand. Appx2443-

46 ¶¶ 42-44; see Press Release, Medicare Extends Coverage of Natera’s SignateraTM

MRD Test to Ovarian Cancer and Neoadjuvant Breast Cancer (Feb. 26, 2024),

https://bit.ly/48u6Eor.

      D.     RaDaR’s Infringement

      In March 2023, NeoGenomics released a competing test, RaDaR, for

commercial use. Appx16-17. Like Signatera, RaDaR is a tumor-informed MRD



                                         9
           Case: 24-1324   Document: 36     Page: 25   Filed: 03/11/2024




test. Appx7560 ¶ 37. And like Signatera, RaDaR practices at least claim 1 of the

’035 Patent. Appx7590-612 ¶¶ 85-114.

      Several publications describe how RaDaR works. Appx7598-604 ¶¶ 94-102.

After a blood sample containing cfDNA is collected, RaDaR performs an initial PCR

process. Appx7689. During that process, cfDNA is subjected to at least “15 cycles

of amplification.” Appx7707; Appx18903-04 ¶ 295.

      One article that describes certain features of RaDaR’s operation explains

that RaDaR tags and then amplifies cfDNA during those 15 cycles. Appx7691;

Appx18903-04 ¶ 295. RaDaR’s first PCR cycle tags cfDNA with two universal tail

adaptors, CS1 and CS2. Appx18903-04 ¶ 295. The tagged DNA molecules are then

amplified in the subsequent cycles. Appx18904 ¶ 297. Other sources describe the

process similarly. See Appx7590 ¶ 85; Appx7726.

      On July 27, 2023, NeoGenomics announced that RaDaR had received its first

Medicare coverage, making it “widely accessible to millions.” Appx2442 ¶ 39;

Appx883. NeoGenomics announced its intention to seek Medicare coverage for at

least two other cancer indications by the end of 2023. Appx883.

II.   PROCEEDINGS BELOW

      A.    Natera’s Complaint and Request for Preliminary Injunction

      Natera sued for infringement on July 28, 2023, the day after NeoGenomics

announced RaDaR’s Medicare coverage. Appx2442 ¶ 39; Appx285-310. Natera



                                       10
           Case: 24-1324     Document: 36      Page: 26   Filed: 03/11/2024




alleged that RaDaR infringed claim 1 of the ’035 Patent. Appx908-09. Three days

later, Natera sought a preliminary injunction against (1) “making, using, [or] selling”

RaDaR in the United States; and (2) “promoting, advertising, marketing, servicing,

distributing, or supplying” RaDaR “so as to induce others’ infringement.” Appx891-

93; Appx894-929. The proposed injunction specifically excluded patients already

using RaDaR. Appx892.

      To support its request, Natera offered expert testimony that RaDaR performed

every step of claim 1, including “tagging isolated cell free DNA . . . with one or

more universal tail adaptors,” “performing targeted amplification” of “25-2,000 loci

associated with cancer” in the tagged cfDNA “in a single reaction volume,” and

“conducting massively parallel sequencing.” Appx908.

      Natera argued that RaDaR’s continued availability threatened irreparable

harm—reputational harm, loss of first-mover advantage, and lost sales and

biopharmaceutical partnerships.      Appx910-19.      RaDaR’s Medicare coverage

threatened to “rapidly and substantially subvert Signatera’s tumor-informed MRD

market share.” Appx910-11. NeoGenomics had already advertised RaDaR to

Natera’s customers, making “unfounded claims about the superiority of its RaDaR

assay.” Appx910-11; Appx2510-12 ¶ 143.

      NeoGenomics disputed infringement, urging that RaDaR did not perform

“targeted amplification of already tagged DNA” as required by claim 1.



                                          11
           Case: 24-1324    Document: 36      Page: 27   Filed: 03/11/2024




Appx10485-86. NeoGenomics also contested the’035 Patent’s validity, arguing that

a single prior art reference—a 2010 poster by Kaper describing a use of the Fluidigm

Access Array—rendered Natera’s claims obvious. Appx10489-90.

      B.     The District Court’s Carefully Crafted Injunction

      On December 27, 2023—after full briefing, a technology tutorial,

Appx20073-152, and an all-day evidentiary hearing, Appx20153-381—the district

court granted a preliminary injunction. Appx1. Each of the relevant factors

supported injunctive relief. Appx5-21.

      1.     On infringement, the court found that Natera had made “a strong

showing that the RaDaR test . . . uses the method claimed in the ’035 patent and

infringes.” Appx6. The court found that RaDaR “tag[ged]” the target cfDNA

strands with an “adaptor sequence” and “then perform[ed] targeted amplification”

on the tagged products. Appx6. RaDaR thereby satisfied claim 1 by amplifying

“the tagged products one or more times to generate final amplification products,

wherein one of the amplification steps comprises targeted amplification.” Appx6.

      The court rejected NeoGenomics’ obviousness arguments. Appx8-10. It

noted that Kaper “used DNA samples from tumor tissue, not cfDNA.” Appx9. And

the court found it “unlikely a person skilled in the art would have been motivated to

use cfDNA with Access Array and would have anticipated success in doing so.”

Appx10. NeoGenomics’ experts did not address whether skilled artisans would have



                                         12
           Case: 24-1324    Document: 36     Page: 28    Filed: 03/11/2024




been motivated to combine and expected success. Appx18782-83 ¶ 75; Appx12001-

184. The court identified numerous “obstacles to successfully amplifying and

sequencing ctDNA with precision” that undermined any motivation to combine:

cfDNA “exists in low yield” in the bloodstream; ctDNA “exists in even lower

yields”; and cfDNA is “fragmented” such that it may not “contain sites for both

primers of a primer pair to bind.” Appx9-10 (citing evidence).

      Those “challenges associated with cfDNA, and others,” made it unlikely

skilled artisans would have been motivated to “use cfDNA with Access Array and

would have anticipated success in doing so.” Appx10. NeoGenomics’ contrary

arguments, the court found, “show hindsight bias more than they support a

substantial question of obviousness.” Appx10.

      2.    The district court also found that Natera would “likely suffer irreparable

harm” without an injunction, including lost “customers, profits, business

relationships, and clinical opportunities.” Appx14-15. The court found that RaDaR

was the “only competitor” to Signatera “in the tumor informed MRD marketplace.”

Appx14. As such, RaDaR was likely to cause Signatera to lose sales and to “lose

out on [biopharmaceutical] partnerships that substantially impact Signatera’s future

success”—losses that were “challenging to quantify.” Appx15.

      “[I]f RaDaR remains on the market,” the court determined, “Natera’s position

as first mover” would be “unfairly cut short.” Appx15. Natera would lose the “brand



                                        13
           Case: 24-1324     Document: 36      Page: 29    Filed: 03/11/2024




recognition, customer loyalty, and business foundations” to which it was entitled as

a “pioneer” in cancer testing. Appx15. The court found it “highly likely” that the

tumor-informed market was the relevant market, but Natera showed irreparable

harm even in the “larger MRD market.” Appx16.

      The court rejected NeoGenomics’ argument that there was insufficient

evidence of lost sales. Appx16. The limited number of historical lost sales was not

surprising given that RaDaR “is relatively new to the market.” Appx16. In any

event, Natera had “shown Moderna used RaDaR in at least one clinical study,” and

NeoGenomics was “promoting RaDaR to Natera’s customers,” so future lost sales

were likely. Appx16.

      The court rejected NeoGenomics’ argument that Natera unreasonably delayed

bringing suit: “[S]uing four months after an infringer enters the market is relatively

quick.” Appx17. Moreover, any delay was justified by Natera’s “ongoing patent

infringement litigation over related patents.” Appx17. That ruling was consistent

with the court’s earlier comment that, “if [Natera] came in . . . and said that Medicare

might approve this, we need a preliminary injunction,” the court “would have said

come back later.” Appx21346 (15:12-14).

      The court held that a sufficient “causal nexus” existed “between the likely

infringement and harm” to Natera. Appx17. The court found it “highly likely” that

RaDaR was “built” “using the methods of the ’035 patent as a foundation.” Appx17.



                                          14
           Case: 24-1324     Document: 36      Page: 30   Filed: 03/11/2024




RaDaR’s “likely infringement [of the ’035 Patent] allow[ed] NeoGenomics to offer

RaDaR as a tumor informed MRD assay.” Appx17-18. That was sufficient to show

that “the infringing feature drives consumer demand.” Appx17 (quoting Apple Inc.

v. Samsung Elecs. Co., 695 F.3d 1370, 1375-76 (Fed. Cir. 2012)).

      3.     Balancing the equities, the court found that Signatera is critical to

Natera’s success, driving 52.1% of Natera’s growth from 2022-2025. Appx18. By

contrast, RaDaR is “not a major product in NeoGenomics’ portfolio,” only one of

over 600 different cancer diagnostic tests. Appx19.

      The court also determined that the public interest favored an injunction. The

court noted that “[i]t is in the public’s interest to uphold patent rights.” Appx19. It

rejected NeoGenomics’ assertion of harm to patients, finding that “[a]nyone in need

of a tumor informed MRD test will be able to get one” because Signatera “is

clinically validated for use with the same cancers as RaDaR.” Appx20.

      4.     Adopting unchallenged language from Natera’s proposed injunction

(Appx891-93), the court enjoined NeoGenomics from “making, using, selling, or

offering [RaDaR] for sale in the United States” or “promoting, advertising,

marketing, servicing, distributing, or supplying [RaDaR] so as to induce others’

infringement.” Appx22-24. The court carefully tailored the injunction. It excluded

continued use of RaDaR for “patients already using [RaDaR] before the entry of this

injunction,” “research and development with other persons or entities on projects or



                                          15
           Case: 24-1324     Document: 36      Page: 31    Filed: 03/11/2024




studies that began before the entry of this injunction,” and “clinical trials in process

or already approved.” Appx23.

      On December 27, 2023, NeoGenomics appealed. Appx20748.

      C.     The District Court’s Denial of the Motions To Stay and Modify the
             Injunction

      NeoGenomics moved for a stay pending appeal and to modify or clarify the

injunction’s scope. Appx20751; Appx20783.

      1.     On January 10, 2024, the court required Natera to post a $10 million

bond. Appx20916. The court clarified that NeoGenomics could continue to perform

RaDaR tests on blood draws taken before Natera posted security, and that the

injunction would not apply to three clinical trials for which NeoGenomics already

had signed contracts. Appx20916-17.

      Natera posted security on January 12, 2024. Appx20937-39. NeoGenomics

then filed an amended notice of appeal on January 26, 2024. Appx20942-44.

      2.     On February 2, 2024, the court issued another order clarifying the

injunction. Appx20945-48. That order allowed NeoGenomics to use RaDaR in

three more clinical trials that were substantively finalized but awaiting signed

contracts. Appx20948.

      Less than two weeks later, the district court denied NeoGenomics’ motion for

a stay pending appeal. Appx21320-26. The court found no substantial question of

obviousness or noninfringement to justify a stay. Appx21322-23. And it affirmed


                                          16
           Case: 24-1324     Document: 36      Page: 32    Filed: 03/11/2024




its prior finding of irreparable harm, noting it had relied on several different factors

in making that finding. Appx21323-26.

      The court rejected NeoGenomics’ argument that the public interest warranted

keeping RaDaR on the market because of its supposed “higher sensitivity,”

explaining that the issue was “disputed” and that “it [was] not at all clear” that

RaDaR in fact possesses higher sensitivity. Appx21325-26. The court found no

“satisfactory evidence” that RaDaR was “available for cancers for which Natera’s

product is not.” Appx21326.

      3.     That same day, the district court denied NeoGenomics’ motion to

modify the injunction by removing its prohibition on “selling” or “offering for sale”

RaDaR in the United States. Appx21327-30. That motion, the court ruled, was

untimely. Natera had suggested the challenged language in its proposed injunction

in July 2023. Appx21329. “NeoGenomics had months to review Natera’s proposed

preliminary injunction order, . . . yet NeoGenomics did not raise a murmur of

opposition . . . .” Appx21329. “NeoGenomics had the opportunity to raise its non-

infringement contentions in its preliminary injunction briefing and at the hearing on

the preliminary injunction. It does not get to raise those arguments now under the

guise of a confusing motion to modify.” Appx21331.




                                          17
           Case: 24-1324     Document: 36      Page: 33    Filed: 03/11/2024




                           SUMMARY OF ARGUMENT

      Largely ignoring the demanding standards of review on appeal, NeoGenomics

reargues a long list of factual disputes and discretionary determinations it lost in the

district court. The district court’s findings were well supported by the record, and

NeoGenomics fails to show any abuse of discretion.

      I.     The district court neither applied the wrong legal standards nor

committed clear error in finding no substantial question over the ’035 Patent’s

validity. Even at the preliminary injunction stage, a party cannot challenge a patent

merely by arguing that all of its elements independently existed in the prior art.

There must be a motivation to combine. See Metalcraft of Mayville, Inc. v. Toro

Co., 848 F.3d 1358, 1367 (Fed. Cir. 2017). The district court carefully analyzed the

record and properly determined that skilled artisans would not have been motivated

to apply Kaper to the far more challenging context of cell-free DNA. Appx9-10.

      The district court did not apply an incorrect legal standard merely by

observing that the “challenges associated with cfDNA . . . presented obstacles to

successfully amplifying and sequencing ctDNA with precision during the relevant

time period.” Appx10 (emphasis added). Lack of precision is relevant to whether

there was a motivation to combine, whether or not it is a claim element. Skilled

artisans regularly consider things like cost, safety, and precision in deciding whether

to combine prior art elements.



                                          18
            Case: 24-1324    Document: 36      Page: 34    Filed: 03/11/2024




      Nor did the district court commit clear error in finding no motivation to

combine. NeoGenomics points to other references that disclosed methods of testing

cfDNA. But the ’035 Patent does not claim just any method; it claims a specific,

innovative method that involves targeted amplification of 25-2,000 SNPs in a

single reaction volume, massively parallel sequencing, and other elements. None of

NeoGenomics’ references discloses all those features.

      II.    Nor did the district court commit clear error in finding no substantial

question of infringement. NeoGenomics does not dispute that RaDaR tags cfDNA,

amplifies the tagged DNA comprising 25 to 2,000 SNPs associated with cancer in a

single reaction volume, and then sequences the products by massively parallel

sequencing. NeoGenomics argues only that it does not infringe because the first two

steps of tagging and targeted amplification occur in separate cycles of a single PCR

process, rather than in separate PCRs with separate primers. Nothing in the ’035

Patent requires that the steps occur in separate PCRs with separate primers.

NeoGenomics is simply engrafting additional limitations onto the claim.

      Amgen Inc. v. Sandoz Inc., 923 F.3d 1023 (Fed. Cir. 2019), does not support

NeoGenomics’ argument. In that case, the patent recited separate “washing” and

“eluting” steps, and the accused product had no separate washing and eluting steps

at all. Id. at 1028. Here, by contrast, the parties agree that claim 1 requires separate

tagging and amplifying steps; the only dispute is whether those steps must occur in



                                          19
             Case: 24-1324    Document: 36      Page: 35   Filed: 03/11/2024




separate PCR processes with separate primers, or instead may occur in separate

amplification cycles within a single PCR. Amgen does not speak to that issue.

      Finally, NeoGenomics urges that the district court should have conducted

a formal claim construction before rejecting its non-infringement argument.

NeoGenomics forfeited that argument by not requesting the claim construction

below. Regardless, the court was not required to construe the claim before applying

it according to its plain terms.

      III.    The district court’s finding of irreparable harm was also well within its

discretion. RaDaR’s widespread availability would have cost Natera the market

share, clinical partnerships, and exclusivity to which it was entitled as the first mover

in tumor-informed MRD testing. Those are all classic examples of irreparable harm.

See Bio-Rad Labs., Inc. v. 10X Genomics Inc., 967 F.3d 1353, 1378-80 (Fed. Cir.

2020). NeoGenomics’ stale market reports and cherry-picked comments from

Natera’s CEO—most of which pre-date NeoGenomics’ Medicare announcement—

do not demonstrate an abuse of discretion.

      Nor did Natera delay in seeking a preliminary injunction. Natera sought an

injunction just four days after NeoGenomics announced RaDaR’s Medicare

coverage. That coverage made RaDaR widely accessible to millions of customers,

threatening grave harm. Even measuring from the date the ’035 Patent issued in




                                           20
           Case: 24-1324      Document: 36     Page: 36    Filed: 03/11/2024




December 2022, Natera filed suit seven months later, a period far shorter than what

many courts have approved.

       The evidence of lost sales supported the district court’s finding. Natera

demonstrated that RaDaR had cost it at least two clinical trials. And future losses

were imminent given the recent Medicare coverage announcement.

       NeoGenomics’ causal nexus argument lacks merit. NeoGenomics failed to

raise its current argument in the district court. Regardless, the evidence amply

showed that the ’035 Patent’s technology was a key driver of RaDaR’s demand.

That showing was more than sufficient to show a causal nexus. See Apple, Inc. v.

Samsung Elecs. Co., 678 F.3d 1314, 1324 (Fed. Cir. 2012).

       Finally, the district court did not erroneously treat the two-party status of the

market as dispositive. The court merely weighed that fact along with other factors.

And the court’s finding that the tumor-informed market was two-party was well

supported by the evidence—NeoGenomics’ own expert admitted as much.

       IV. The district court properly considered the public interest. The court

recognized the strong public interest in protecting intellectual property rights. And

the court properly found that there were no countervailing interests in this case. The

court found that anyone who needed an MRD test could get one from Natera. And

the court carefully tailored the injunction by excluding ongoing uses by patients and

in clinical studies.



                                          21
           Case: 24-1324      Document: 36      Page: 37   Filed: 03/11/2024




      The balance of equities also favored an injunction. The district court found

that Signatera was Natera’s “most valuable offering,” whereas RaDaR was “not a

major product in NeoGenomics’ portfolio.” Appx18-19. The threatened harm to

Natera far outweighed any harm to NeoGenomics.

      V.     Finally, the district court did not err by enjoining NeoGenomics from

“making,” “selling,” or “offering for sale” RaDaR in the United States. Appx22-24.

Natera proposed that language at the outset of the litigation. NeoGenomics never

raised any concerns about it until after the court ruled. In any case, the district court

properly enjoined NeoGenomics from making or selling RaDaR to protect against

future infringement. See BlephEx, LLC v. Myco Indus., Inc., 24 F.4th 1391, 1405

(Fed. Cir. 2022).

                                    ARGUMENT

I.    THE DISTRICT COURT CORRECTLY FOUND NO SUBSTANTIAL QUESTION
      REGARDING THE ʼ035 PATENT’S VALIDITY

      To avoid a preliminary injunction, a defendant must show a “substantial

question” of invalidity. Metalcraft of Mayville, Inc. v. Toro Co., 848 F.3d 1358,

1366-67 (Fed. Cir. 2017). The evidence must be “sufficiently persuasive that it is

likely to overcome the presumption of patent validity.”           PPG Indus., Inc. v.

Guardian Indus. Corp., 75 F.3d 1558, 1566 (Fed. Cir. 1996). While the defendant

need not prove invalidity by clear and convincing evidence at this stage, “[t]he fact

that, at trial on the merits, the proof of invalidity will require clear and convincing


                                           22
           Case: 24-1324     Document: 36     Page: 38    Filed: 03/11/2024




evidence” is relevant to whether a substantial question exists. Titan Tire Corp. v.

Case New Holland, Inc., 566 F.3d 1372, 1380 (Fed. Cir. 2009).

      The district court properly applied those standards. NeoGenomics does not

dispute that no prior art reference disclosed all elements of the ʼ035 Patent claims,

leaving a “gap” between the prior art and Natera’s invention. Br.22. The district

court carefully analyzed that gap and concluded that skilled artisans would not have

been motivated to combine existing DNA analysis techniques with cfDNA because

of the unique challenges that cfDNA poses. Appx9-10.

      A.     The District Court Did Not Apply the Wrong Legal Standard in
             Assessing Motivation To Combine

      NeoGenomics argues that the district court should have denied an injunction

because the ’035 Patent claims only “the predictable use of prior-art elements

according to their established functions.” Br.21-24. But the district court applied

the correct legal standards in rejecting that argument.

      Even on a preliminary injunction motion, “it is not enough . . . to merely

demonstrate that elements of the claimed invention were independently known in

the prior art.” Metalcraft, 848 F.3d at 1367. There must be a “motivation to

combine.” Id. This Court regularly finds no “substantial question of validity” where

“there would not have been a motivation to combine.” Id.; see BlephEx, LLC v.

Myco Indus., Inc., 24 F.4th 1391, 1403-04 (Fed. Cir. 2022) (affirming injunction

based on lack of motivation to combine); Mylan Institutional LLC v. Aurobindo


                                         23
           Case: 24-1324     Document: 36     Page: 39   Filed: 03/11/2024




Pharma Ltd., 857 F.3d 858, 870-71 (Fed. Cir. 2017) (similar); contrast Amazon.com,

Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1358-63 (Fed. Cir. 2001)

(reversing injunction because particular facts showed “a substantial question of

invalidity,” not because motivation to combine was per se irrelevant).

      The district court correctly applied those principles. As the court observed,

and as NeoGenomics admits (Br.22), Kaper does not disclose applying the ’035

Patent’s claimed features to cfDNA—it involves the far less challenging context of

biopsied tumor tissue. Appx9. Kaper does not even mention cfDNA. Appx13113.

The court thus examined whether there was a motivation to apply Kaper to that new

and very different context. Appx9-10. Citing extensive evidence and crediting

Natera’s expert testimony, the court held that there was not. Appx9-10. That is

exactly the inquiry that cases like Metalcraft require. 848 F.3d at 1367.

      NeoGenomics’ argument that the court “applied the wrong legal standard” is

hard to discern. Br.21. NeoGenomics urges that “[m]ere ‘[v]ulnerability’ to an

invalidity challenge suffices to defeat a preliminary injunction.” Id. But “mere

vulnerability” is not a substitute for motivation to combine. It is merely another way

of expressing the idea that a defendant opposing a preliminary injunction need only

show a “substantial question” of invalidity. See, e.g., Amazon.com, 239 F.3d at 1359

(referring to both standards interchangeably). That is the standard the district court

applied. Appx8; Appx10.



                                         24
           Case: 24-1324      Document: 36      Page: 40   Filed: 03/11/2024




      NeoGenomics urges that the ’035 Patent is invalid because it “claims nothing

more than ‘prior art elements according to their established functions.’ ” Br.24

(quoting KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 417 (2007)). But KSR does

not dispense with motivation to combine either. While KSR states that an invention

must be “more than the predictable use of prior art elements according to their

established functions,” “a patent composed of several elements is not proved obvious

merely by demonstrating that each of its elements was, independently, known in the

prior art.” 550 U.S. at 417-18 (emphasis added). A critical consideration is whether

there was some “reason . . . to combine the elements in the way the claimed new

invention does.” Id. at 418. Motivation to combine thus bears directly on whether

the combination of prior art elements was, in fact, “predictable.” That is the analysis

the district court undertook. Appx8-10.

      Finally, NeoGenomics argues that the court erred because “NeoGenomics’

evidence . . . showed skilled artisans would and could have bridged any gap.” Br.22

(emphasis added). That is just a factual argument about what evidence the trial court

chose to credit. Later in its brief, NeoGenomics does make a clear error argument.

Br.27-28. NeoGenomics cannot avoid that demanding standard of review simply by

moving most of its factual analysis to an earlier section of its brief and treating it as

if it were some sort of legal error instead. Br.22-24.




                                           25
           Case: 24-1324     Document: 36      Page: 41   Filed: 03/11/2024




      B.     The District Court Did Not Improperly Fail To Tether Its
             Motivation-To-Combine Analysis to the Claim Scope

      The closest NeoGenomics comes to a challenge to the district court’s legal

standard rests on two words the court used when finding no motivation to combine:

“These challenges associated with cfDNA, and others, presented obstacles to

successfully amplifying and sequencing ctDNA with precision during the relevant

time period.” Appx10 (emphasis added). NeoGenomics asserts that, because the

’035 Patent does not expressly claim a particular level of “precision,” that

consideration is irrelevant to whether skilled artisans would have “a reasonable

expectation of success of developing the claimed invention.” Br.25-27.

      That argument misreads the district court’s reasoning. The court mentioned

lack of precision, not because it is a claim limitation, but because it is a reason why

it was “unlikely a person skilled in the art would have been motivated to use cfDNA

with [Kaper’s] Access Array.” Appx10. Facts can be relevant to motivation to

combine even if they are not elements of the invention. In Auris Health, Inc. v.

Intuitive Surgical Operations, Inc., 32 F.4th 1154 (Fed. Cir. 2022), for example, this

Court held that “evidence that . . . a combination would come at the expense of

precision required for surgery” was relevant to a motivation to combine, even though

the patent claims did not require “precision.” Id. at 1159.

      Similarly, factors like cost or safety may weigh against a motivation to

combine, even if they are not claim limitations. In BlephEx, this Court affirmed a


                                          26
          Case: 24-1324     Document: 36      Page: 42   Filed: 03/11/2024




finding of no motivation to combine because the defendant “failed to explain how a

skilled artisan would have addressed the safety concerns of its proposed

modification,” even though the patent claims did not recite a safety limitation. 24

F.4th at 1404. And in Novartis AG v. Torrent Pharmaceuticals Ltd., 853 F.3d 1316

(Fed. Cir. 2017), this Court affirmed a Board decision that considered “expense” in

evaluating motivation to combine, even though expense was not a claim limitation.

Id. at 1327. This case is no different: The fact that Kaper’s Access Array was

understood to be too imprecise to work with cfDNA would weigh against any

motivation to combine, even if the patent claims do not expressly require precision.

      Allergan, Inc. v. Apotex Inc., 754 F.3d 952 (Fed. Cir. 2014), is not to the

contrary. In that case, the Court held that the district court erred by “fail[ing] to

consider the appropriate scope of the . . . claimed invention in evaluating the

reasonable expectation of success.” Id. at 965-66 (emphasis added). A skilled

artisan’s reasonable expectation of success of practicing a claimed invention

necessarily depends on the invention’s scope. Id. By contrast, many factors (cost,

safety, precision, etc.) may be relevant to motivation to combine, whether they are

claim limitations or not. See Intelligent Bio-Sys., Inc. v. Illumina Cambridge Ltd.,

821 F.3d 1359, 1367-68 (Fed. Cir. 2016) (explaining that “reasonable expectation of

success and motivation to combine” are “two different legal concepts”). Why try a




                                         27
           Case: 24-1324     Document: 36      Page: 43    Filed: 03/11/2024




combination that would be exorbitantly costly, hazardous to use, or too imprecise to

be commercially useful? The district court properly considered such factors here.

      In Allergan, moreover, the prior art contained a “plethora” of references that

taught towards particular structures within the patent’s broad claim scope. 754 F.3d

at 966. The district court erred in that case because it focused on only one specific

structure when analyzing motivation to combine. Id. This Court reversed because

there was plenty of motivation to combine to create other claimed structures, and

that was sufficient to invalidate the claim. Id. Here, the district court did not ignore

any claim element; it simply mentioned an additional factor (precision) that was also

relevant to motivation to combine.

      C.     The District Court’s Factual Findings Are Not Clearly Erroneous

      NeoGenomics’ attacks on the district court’s factual findings of no motivation

to combine and no reasonable expectation of success likewise fall short. Br.22-24,

27-29. Those factual findings are reviewed only for clear error. Metalcraft, 848

F.3d at 1366. That standard permits reversal “only when this court is left with a

‘definite and firm conviction’ that the district court was in error.” Ruiz v. A.B.

Chance Co., 357 F.3d 1270, 1275 (Fed. Cir. 2004). “Where the factfinder’s account

of the evidence is plausible in light of the entire record or where it chooses one of

two permissible views of the evidence, it has committed no clear error.” Miles Labs.,

Inc. v. Shandon Inc., 997 F.2d 870, 874 (Fed. Cir. 1993). This Court reviews such



                                          28
           Case: 24-1324     Document: 36      Page: 44   Filed: 03/11/2024




findings “with deference, especially at the preliminary injunction stage.” Mylan,

857 F.3d at 870. The district court’s findings easily satisfy that standard.

      1.     Ample evidence supports the district court’s findings that there were

“many well-known barriers to using cfDNA,” “making it unlikely a person skilled

in the art would have been motivated to use cfDNA with [Kaper] and would have

anticipated success in doing so.” Appx9-10. For example, the court credited

testimony from Natera’s expert, Dr. Metzker. Appx18752-59 ¶¶ 13-22; Appx18825-

35 ¶¶ 154-169. Dr. Metzker explained that cfDNA exists in low concentrations in

the bloodstream and that ctDNA exists in even lower concentrations, mixed together

with other cfDNA. Appx18753 ¶ 15. Those circumstances make ctDNA much

harder to prepare and analyze than biopsy samples from tumors, in which all the

DNA is tumor-derived. Appx18753 ¶ 15. Unlike cellular DNA, moreover, cfDNA

is “fragmented” into tiny pieces. Appx18755-56 ¶ 19. That makes it “difficult to

manipulate through existing techniques.” Appx18755-56 ¶ 19; Appx18754-59 ¶¶16-

22. A district court has “wide discretion to weigh expert credibility,” and this Court

“defer[s] heavily” to those credibility determinations. Celsis In Vitro, Inc. v.

CellzDirect, Inc., 664 F.3d 922, 929 (Fed. Cir. 2012).1



1
  That Kaper refers to testing small amounts such as “50ng [of ] human genomic
DNA” does not show it was obvious to use Kaper with cfDNA. Appx13113. cfDNA
is much harder to work with than tumor biopsy DNA because it exists in low
concentrations strewn throughout the bloodstream. Appx18753 ¶ 15.

                                          29
           Case: 24-1324    Document: 36      Page: 45   Filed: 03/11/2024




      The district court also relied on articles by Volik and Forshew. Volik

explained that “the low amount, high degradation, and high admixture of normal

DNA in cfDNA pose major challenges for the development of sensitive and robust

detection pipelines.” Appx19069. Forshew highlighted “the challenges involved in

analysis of circulating tumor DNA.” Appx7691. NeoGenomics’ own expert agreed.

Appx18753-54 ¶ 15 (“[Forshew is] referring to past challenges that involve the

analysis of circulating tumor DNA. I agree with that.”). That evidence provided

more than “plausible” support for the court’s findings. Miles Labs., 997 F.2d at 874.

      2.     NeoGenomics urges that “skilled artisans would and could have

bridged any gap” because “it was already well known to use cell-free DNA for

cancer monitoring and detection.” Br.22. But the ’035 Patent does not recite

monitoring and detection. It claims preparing a sample using a specific method of

tagging and targeted amplification to amplify 25-2,000 SNPs in a “single reaction

volume,” massively parallel sequencing, and other elements. Appx244 (249:44-62).

      That approach was a breakthrough.          Prior art methods taught toward

amplification by “split[ting]” a sample into separate reaction wells and then

analyzing one individual target in each well, to avoid an excessive number of “off-

target sequence reads.” Appx162 (85:15-29). Those “split-and-pool methods,”

however, were ineffective for low-concentration sources like ctDNA, because there

would often not be enough ctDNA molecules in each well and fragments containing



                                         30
          Case: 24-1324     Document: 36     Page: 46   Filed: 03/11/2024




a specific target locus of interest could be missed altogether. Appx162 (85:30-33);

see also Appx18829-30 ¶ 160; Appx20185-86 (32:11-33:21); Appx20192 (39:1-15).

The ’035 Patent navigated those problems by showing how to use a single reaction

volume, rather than separate reaction wells, to analyze cfDNA. Appx126 (13:6-15);

Appx18829-30 ¶ 160.

      The evidence thus showed numerous gaps in the prior art.              See, e.g.,

Appx18833 ¶ 165 (Kaper does not teach “single reaction volume”); Appx18834-

35 ¶ 168 (Kaper does not teach “sequencing 25-2,000 SNP loci”); Appx19196-97

(citing same); Appx20185-86 (32:11-33:21); Appx20192 (39:1-15). In fact, Kaper

taught away from the claimed invention by using a split-and-pool method rather

than a single reaction volume.     Appx13113.      That the district court did not

specifically mention every portion of Dr. Metzker’s testimony on those issues does

not mean the court overlooked them. See Plant Genetic Sys., N.V. v. DeKalb

Genetics Corp., 315 F.3d 1335, 1342-43 (Fed. Cir. 2003) (“The fact that the district

court did not in its opinion recite every piece of evidence does not mean that the

evidence was not considered.”); Appx2 n.1.

      NeoGenomics invokes only three references from before the ’035 Patent’s

2011 priority date that purportedly show that using cfDNA for “cancer monitoring

and detection” was well-known: patent applications filed by Cantor (2005), Ehrich

(2008), and Lo (2009). Br.22-23. None of those references resembles the ’035



                                        31
           Case: 24-1324    Document: 36     Page: 47   Filed: 03/11/2024




Patent. Cantor claimed a “method of determining a single gene disorder in a fetus”

by amplifying, replicating, and detecting a “single” SNP. Appx13186. Ehrich

claimed a “method for detecting the presence or absence of a plurality of target

alleles.” Appx13239. Lo claimed a “method for determining whether a nucleic acid

sequence imbalance exists within a biological sample.” Appx13327. None of those

methods disclosed targeted amplification of 25-2,000 SNPs in a single reaction

volume as claimed.

      Moreover, the three references teach away from the claimed invention by

emphasizing the difficulties of working with cfDNA. Lo, for example, explains that

cfDNA “represented a considerable challenge” and that there were “controversies

regarding the effectiveness” of testing cfDNA. Appx13257-58 ¶¶ 6-8; see also

Appx13146 (Cantor); Appx13199 (Ehrich). Those are the same challenges Natera’s

expert relied on. Appx18752-59 ¶¶ 13-22; Appx18825-35 ¶¶ 154-169.

      3.    NeoGenomics fares even worse when it invokes various post-priority-

date statements from this Court’s cases and Natera’s submissions in other cases.

Br.23-24, 27-28. None of those references describes the unique features of the

claimed invention.

      In Ariosa Diagnostics, Inc. v. Sequenom, Inc., 788 F.3d 1371 (Fed. Cir. 2015),

for example, the patent claimed a method for “amplifying” and “detecting” cell-free

fetal DNA that purported to extend to essentially all such testing by any method



                                        32
           Case: 24-1324     Document: 36      Page: 48   Filed: 03/11/2024




whatsoever. Id. at 1373-74. The patent disclosed nothing about tagging and targeted

amplification of 25-2,000 SNPs in a single reaction volume combined with

massively parallel sequencing. The Court’s statement that using PCR to amplify and

detect cfDNA in general was “well-understood, routine, and conventional” says

nothing about the specific, superior method claimed here. Id. at 1377.

      Similarly, in CareDx, Inc. v. Natera, Inc., 40 F.4th 1371 (Fed. Cir. 2022), the

patent claims covered methods for detecting organ transplant status by “multiplex

sequencing.” Id. at 1373-75. As in Ariosa, the patent claims did not involve targeted

amplification of 25-2,000 SNPs in a single reaction volume. The Court concluded

that “collecting a sample, genotyping, sequencing, and quantifying” cfDNA was

“straightforward, logical, and conventional.” Id. at 1380. But it said nothing that

casts doubt on the particular method claimed here.

      Natera’s summary judgment brief in CareDx (Appx12583) and expert

declaration in Natera Inc. v. Illumina, Inc., No. IPR2018-01317 (PTAB) (Appx12959)

are irrelevant for similar reasons: They concerned only the particular patents at issue

in those cases, not the distinct method of the ’035 Patent that involves targeted

amplification of 25-2,000 SNPs in a single reaction volume combined with

massively parallel sequencing. NeoGenomics must do more than show that the prior

art disclosed some method of analyzing cfDNA to raise a substantial question of

validity about the specific method claimed in the ʼ035 Patent.



                                          33
           Case: 24-1324     Document: 36      Page: 49   Filed: 03/11/2024




      Ariosa and CareDx are also irrelevant for another reason: They concerned

subject-matter eligibility under § 101, not obviousness under § 103. See Ariosa, 788

F.3d at 1377-78; CareDx, 40 F.4th at 1380. “[W]hether a claimed process is novel

or non-obvious is irrelevant to the § 101 analysis.” In re Bilski, 545 F.3d 943, 958

(Fed. Cir. 2008); see also Intellectual Ventures I LLC v. Symantec Corp., 838 F.3d

1307, 1315 (Fed. Cir. 2016). Those cases did not consider the legal standards that

govern motivation to combine or reasonable expectation of success under § 103.

      NeoGenomics’ post-priority-date references would not justify reversal even if

they spoke to the relevant issue. “[T]he ‘clearly erroneous’ standard does not entitle

this court to reverse the district court’s finding simply because it would have decided

the case differently.” Miles Labs., 997 F.2d at 874. The finding need only be a

“plausible” choice among “permissible views of the evidence.” Id. A finding thus

is not “clearly erroneous” merely because it purportedly conflicts with a finding that

a different court made in a different case involving a different record. See 9 James

Wm. Moore, Moore’s Federal Practice § 52.31[1] (3d ed. 2022) (findings not clearly

erroneous merely because they “diverge from those made by another court”). The

district court did not commit clear error by relying on the evidence it found most

credible and probative, even if this Court or another court might have weighed

different evidence in a different case differently.




                                          34
           Case: 24-1324    Document: 36      Page: 50   Filed: 03/11/2024




II.   THE DISTRICT COURT CORRECTLY FOUND NO SUBSTANTIAL QUESTION
      REGARDING INFRINGEMENT

      To obtain a preliminary injunction, a patentee need only show that “it will

likely prove infringement of the asserted claims.” Metalcraft, 848 F.3d at 1363-64

(emphasis added). “Infringement is a question of fact, which [this Court] review[s]

on appeal for clear error.” Tinnus Enters., LLC v. Telebrands Corp., 846 F.3d 1190,

1203 (Fed. Cir. 2017). Overwhelming evidence showed that RaDaR infringes the

’035 Patent—which is doubtless why NeoGenomics did not even make a non-

infringement argument when moving for a stay pending appeal.

      A.     Ample Evidence Supports the District Court’s Finding of Likely
             Infringement

      The district court properly found that RaDaR likely infringes under the plain

terms of the ’035 Patent. “There is a heavy presumption that claim terms are to be

given their ordinary and customary meaning.” Aventis Pharms. Inc. v. Amino

Chems. Ltd., 715 F.3d 1363, 1373 (Fed. Cir. 2013) (emphasis added). “If the claim

term has a plain and ordinary meaning, [the court’s] inquiry ends.”           Power

Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1361 (Fed.

Cir. 2013). Those principles are dispositive here.

      Claim 1 of the ’035 Patent recites three steps: (1) tagging cfDNA,

(2) targeted amplification of 25-2,000 target SNPs associated with cancer in a single




                                         35
          Case: 24-1324     Document: 36     Page: 51   Filed: 03/11/2024




reaction volume, and (3) massively parallel sequencing. Appx244 (249:46-62). The

parties dispute only whether RaDaR practices the first two steps. Br.29-31.

      The district court correctly found that it does. First, the court found that

“RaDaR . . . tags the products with [an] adaptor sequence”—the first step. Appx6.

Second, the court found that RaDaR “performs targeted amplification”—the second

step. Id. RaDaR thus “amplifies ‘the tagged products one or more times to generate

final amplification products, wherein one of the amplification steps comprises

targeted amplification’ ”—precisely what the ’035 Patent requires. Appx6-7.

      Ample evidence supports those findings.       Natera’s expert Dr. Metzker

explained that RaDaR includes an initial multi-cycle PCR process with 15 separate

amplification cycles. Appx18903-04 ¶ 295; see also Appx7707 (“15 cycles of

amplification”). During the “first cycle,” he explained, RaDaR “tags cell-free DNA

with universal tail adaptors.”   Appx18903-05 ¶¶ 295-297; see also Appx7594-

95 ¶¶ 88-89. NeoGenomics’ expert agreed that “[d]uring the first cycle a first tail

adaptor is introduced.” Appx12044 ¶ 101. The first cycle thus satisfies claim 1’s

first step of “tagging” cfDNA.

      Natera’s expert then explained that “[t]he subsequent cycles of PCR amplify

the target region of interest, thereby performing targeted amplification of already

tagged DNA.”     Appx18904-05 ¶ 297 (emphasis omitted); see also Appx7603-




                                        36
           Case: 24-1324     Document: 36     Page: 52   Filed: 03/11/2024




04 ¶ 101; Appx12058-59 ¶ 131. Cycles 2 through 15 of the PCR thus satisfy claim

1’s second step of “amplifying” the tagged cfDNA through targeted amplification.

      NeoGenomics disputes none of that. Instead, it tries to avoid infringement by

adding requirements found nowhere in the claim. According to NeoGenomics,

RaDaR does not infringe because its “first” and “second” steps are both sub-steps

within a single larger “step”—what NeoGenomics refers to as a “single PCR.”

Br.31. According to NeoGenomics, the ’035 Patent requires that the first and second

steps each involve “a distinct PCR with distinct primers from any used to perform

the [prior] step.” Id. (emphasis added). Nothing in claim 1 supports those additional

limitations.

      Claim 1 requires that DNA be “tagg[ed]” in one step and then “amplif [ied]”

in one or more subsequent steps. Appx244 (249:46-57). It does not require that each

step involve its own separate PCR process with different primers, rather than being

separate cycles of a PCR process. Appx244 (249:44-62). NeoGenomics invents

those additional limitations out of whole cloth.

      Amgen Inc. v. Sandoz Inc., 923 F.3d 1023 (Fed. Cir. 2019), does not help

NeoGenomics. The patent in Amgen recited a “method of purifying a protein” that

involved separate steps of “washing the separation matrix” and “eluting the protein

from the separation matrix.” Id. at 1026. The accused process did not involve

separate “washing” and “eluting” steps at all—instead, the plaintiff argued it was



                                         37
           Case: 24-1324      Document: 36    Page: 53   Filed: 03/11/2024




sufficient that “washing precedes elution at any given point in the separation matrix;

that is, washing may occur toward the bottom of the matrix at the same time that

elution occurs toward the top.” Id. at 1028. This Court disagreed, explaining that

“the claim language logically requires that the process steps . . . be performed in

sequence.” Id.

      That reasoning is inapposite here. Natera agrees that the ’035 Patent requires

multiple steps—a “tagging” step followed by one or more “amplification” steps.

Appx244 (249:46-57). The accused process in Amgen had no meaningful “steps” at

all: The patentee was arguing infringement because, at any given point in time,

somewhere in the accused process, “washing” was happening before “eluting.”

RaDaR, by contrast, tags DNA in a first cycle and then amplifies the tagged DNA

in subsequent cycles of a larger PCR process with at least 15 separate cycles.

Appx18903-05 ¶¶ 295-297; Appx7594-95 ¶¶ 88-89. Amgen may require “steps” of

some sort, but it does not require that the steps be defined at some arbitrarily broad

level of generality, like an entire multi-cycle PCR process rather than individual

cycles within a single PCR.

      In Amgen, moreover, “washing and eluting [we]re consistently described in

the specification as separate steps performed by different solutions.” 923 F.3d at

1028 (emphasis added). There is no analogous claim language here. NeoGenomics

argues that claim 1 implies that “tagging” must precede “amplifying” and



                                         38
            Case: 24-1324         Document: 36   Page: 54     Filed: 03/11/2024




“amplifying” must precede “sequencing.” Br.35-36. Natera agrees. But none of

that claim language suggests the steps must occur in completely separate PCR

processes with separate primers, rather than in separate amplification cycles of a

PCR process. The claim says nothing about PCR at all. Appx244 (249:46-62).

       NeoGenomics’ reliance on dependent claim 13 is similarly misplaced. Br.37.

Claim 13 recites “tagging the cell free DNA” by “amplifying the cell free DNA with

a first primer comprising the first universal tail adaptor and a second primer

comprising the second universal tail adaptor.”              Appx245 (251:10-13).   That

dependent claim merely illustrates that the tagging in claim 1’s tagging step may be

performed by its own amplification process, separate and apart from the

amplification that occurs in the amplification step. That language does not imply

anything about whether the steps in claim 1 may be performed in separate cycles of

a larger PCR process. See Littelfuse, Inc. v. Mersen USA EP Corp., 29 F.4th 1376,

1380 (Fed. Cir. 2022) (“By definition, an independent claim is broader than a claim

that depends from it . . . .”).

       NeoGenomics’ reliance on embodiments in the specification involving

separate PCRs is even further afield. Br.38. This Court has “expressly rejected the

contention that . . . the claims of the patent must be construed as being limited to




                                            39
           Case: 24-1324     Document: 36     Page: 55   Filed: 03/11/2024




[an] embodiment.” Phillips v. AWH Corp., 415 F.3d 1303, 1323 (Fed. Cir. 2005)

(en banc). The district court committed no clear error in following that rule.2

      B.     The District Court Did Not Omit Any Required Claim
             Construction

      Unable to overcome the unambiguous claim language, NeoGenomics asserts

that the district court committed a procedural error by not engaging in explicit claim

construction before holding that RaDaR likely infringes. Br.32-33. That argument

is both forfeited and meritless.

      1.     “[A] party may not introduce new claim construction arguments on

appeal or alter the scope of the claim construction positions it took below.” Conoco,

Inc. v. Energy & Env’t Int’l, L.C., 460 F.3d 1349, 1358-59 (Fed. Cir. 2006); see

also Broadcom Corp. v. Qualcomm Inc., 543 F.3d 683, 694 (Fed. Cir. 2008).

NeoGenomics attempts to do precisely that. NeoGenomics’ opposition to Natera’s

preliminary injunction motion never asked the district court to construe whether

claim 1’s tagging and amplifying steps must occur in separate PCRs with separate

primers, rather than different cycles of a single PCR. Appx10475-508. In fact,

NeoGenomics did not mention claim construction in its opposition brief at all. Id.

Nor did NeoGenomics’ expert address that issue. Appx12001-184. Although his


2
  NeoGenomics also mischaracterizes the testimony of Natera’s expert. Br.39.
Natera’s expert made clear that he was “relying on those [PCR] cycles that amplify
the tagged products” for claim 1’s amplification step. Appx12424 (92:12-13). He
never said the PCR cycles satisfy only the tagging step.

                                         40
           Case: 24-1324     Document: 36     Page: 56   Filed: 03/11/2024




declaration included a section called “claim construction,” it concerned a different

question over the meaning of the term “amplifying.” Appx12025-26 ¶¶ 64-65 (“I

construe the term ‘amplifying’ . . . to mean ‘increasing the number [of ] copies of a

molecule, such as a molecule of DNA.’ ”). NeoGenomics’ arguments on appeal have

nothing to do with that proposed construction.

      Nor did NeoGenomics raise this issue during the technology tutorial or

preliminary injunction hearing. Appx19868-946; Appx20154-381. NeoGenomics

mentioned only the separate dispute over construction of the term “amplifying”—a

dispute irrelevant to the issues on appeal. Appx20289-90 (136:4-137:23) (arguing

that “the key claim construction issue” was “what that amplifying term means”).

NeoGenomics never asked the district court for claim construction on the issue it

presses now.3

      The first time NeoGenomics raised this claim construction argument was in

its motion for a stay pending appeal, after the district court had already granted the

preliminary injunction. Appx20769-72. That was far too late. As the court

observed, NeoGenomics’ stay motion was “nothing more than an argument for

reconsideration.” Appx21323. “An argument made for the first time in a motion



3
  Even if NeoGenomics had mentioned the issue at the hearing, a party forfeits a
claim construction argument by mentioning it for the first time at a hearing. See
MCM Portfolio LLC v. Hewlett-Packard Co., 812 F.3d 1284, 1294 n.3 (Fed. Cir.
2015); Bos. Sci. SciMed, Inc. v. Iancu, 811 F. App’x 618, 629 (Fed. Cir. 2020).

                                         41
           Case: 24-1324     Document: 36      Page: 57   Filed: 03/11/2024




for reconsideration comes too late and is ordinarily deemed waived.” Golden Bridge

Tech., Inc. v. Apple Inc., 758 F.3d 1362, 1369 (Fed. Cir. 2014); see also Bluebonnet

Sav. Bank, F.S.B. v. United States, 466 F.3d 1349, 1361 (Fed. Cir. 2006).

      2.     In any event, the district court was not required to do more before

rejecting NeoGenomics’ non-infringement arguments.           “[A] trial court has no

obligation to interpret [claims] conclusively and finally during a preliminary

injunction proceeding.” Sofamor Danek Grp., Inc. v. DePuy-Motech, Inc., 74 F.3d

1216, 1221 (Fed. Cir. 1996). Rather, the court “may exercise its discretion to

interpret the claims at a time when the parties have presented a full picture of the

claimed invention and prior art.” Id.

      NeoGenomics invokes this Court’s unpublished decision in Shuffle Master,

Inc. v. VendingData Corp., 163 F. App’x 864 (Fed. Cir. 2005), to argue that “some

form of claim construction” is required even on a preliminary injunction motion.

Br.32. But Shuffle Master recognized that claim construction need not be “explicit”

if an issue “is a simple one that needs no analysis, or in which there is no reasonable

ground for dispute as to claim meaning.” 163 F. App’x at 868 (citing Toro Co. v.

Deere & Co., 355 F.3d 1313, 1322 (Fed. Cir. 2004)); see also Summit 6, LLC v.

Samsung Elecs. Co., 802 F.3d 1283, 1291 (Fed. Cir. 2015) (“Because the plain and

ordinary meaning of the disputed claim language is clear, the district court did not

err by declining to construe the claim term.”).



                                          42
            Case: 24-1324    Document: 36      Page: 58   Filed: 03/11/2024




       That describes this situation. This is not a case where the parties disputed the

meaning of some genuinely ambiguous claim term. Rather, Natera argued below

that RaDaR infringes under the plain meaning of the claim terms, and NeoGenomics

now argues that this Court should reach a different result by importing additional

unwritten limitations into the claims that it never mentioned below. The district

court did not simply “assum[e] Natera’s construction without explanation.” Br. 32.

It applied the claim according to its plain meaning. The court was not required to

conduct a Markman hearing before doing so.

III.   THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION IN FINDING THAT
       NATERA WOULD SUFFER IRREPARABLE HARM

       NeoGenomics contests a litany of factual findings on irreparable harm.

Br.40-44, 46-49. But its arguments fall far short of the demanding standards that

apply: clear error for factual findings, see BlephEx, 24 F.4th at 1405, and abuse of

discretion for granting relief, see Sanofi-Synthelabo v. Apotex, Inc., 470 F.3d 1368,

1374 (Fed. Cir. 2006).

       A.    Natera’s Threatened Loss of Market Share Supports the Finding
             of Irreparable Harm

       The district court found that, absent injunctive relief, Natera could “lose out

on partnerships that substantially impact Signatera’s future success,” Natera’s

“position as first mover will be unfairly cut short,” and “lost sales from RaDaR are

likely to occur.” Appx14-17. Those are classic examples of irreparable harm. See



                                          43
           Case: 24-1324     Document: 36      Page: 59   Filed: 03/11/2024




Bio-Rad Labs., Inc. v. 10X Genomics Inc., 967 F.3d 1353, 1378-80 (Fed. Cir. 2020)

(loss of “first mover advantage” constitutes irreparable harm); Douglas Dynamics,

LLC v. Buyers Prods. Co., 717 F.3d 1336, 1344 (Fed. Cir. 2013) (“Irreparable injury

encompasses . . . lost sales and erosion in reputation and brand distinction.”).

      NeoGenomics argues that Natera’s dominant market position cuts against a

finding of irreparable harm. Br.40-41. That is wrong. “[M]arket exclusivity” is an

asset to which patentees are entitled. See Douglas Dynamics, 717 F.3d at 1345.

Courts routinely find irreparable harm where a competitor’s infringement threatens

that exclusivity. See id. (harm of “being forced to compete against products that

incorporate and infringe” is “often irreparable”). Courts are especially likely to find

irreparable harm where the patentee has refused to license its invention. See Presidio

Components Inc. v. Am. Tech. Ceramics Corp., 702 F.3d 1351, 1363-64 (Fed. Cir.

2012) (“unwillingness to license” favors finding of irreparable harm). Natera has

never licensed the ’035 Patent. Appx7930 ¶ 16. The district court correctly found

that RaDaR’s continued sale would threaten Natera’s hard-earned exclusivity and

Natera would likely suffer irreparable harm as a result. Appx15.

      NeoGenomics concedes that Natera will lose market share absent injunctive

relief. Br.41. But it tries to downplay the extent of the loss, urging that Natera will

lose “just 7%” and NeoGenomics will gain “only 2%.” Br.41. That assertion is no

basis for reversal. This Court has held that even smaller losses in market share are



                                          44
           Case: 24-1324     Document: 36      Page: 60    Filed: 03/11/2024




sufficient to show irreparable harm. See Douglas Dynamics, 717 F.3d at 1345

(finding irreparable harm even though patentee’s market share increased).

      NeoGenomics, moreover, understates the threatened harm. NeoGenomics

relies on a report issued before RaDaR’s Medicare approval on July 27, 2023.

Appx7308; Appx2442 ¶ 39.        That approval threatened an explosive impact on

RaDaR’s growth because it greatly affected oncologists’ willingness to order the

product.   Appx2937; Appx7930 ¶ 17.        Medicare coverage would make RaDaR

“widely accessible to millions.” Appx2442 ¶ 39; Appx887. Moreover, the report

NeoGenomics cites does not differentiate between tumor-informed and tumor-naïve

tests. Appx7308; Appx7318; Appx7323. Stale data regarding a separate market

does not render the district court’s findings clearly erroneous.

      NeoGenomics’ cherry-picked statements from Natera’s CEO say nothing

about the harm Natera would suffer if RaDaR were allowed to exploit the market

despite Natera’s patents. Br.41. All but one were made before RaDaR’s Medicare

approval. Appx11536; Appx11545. The lone statement that post-dated RaDaR’s

Medicare approval (by a few weeks) merely recounted what Natera was seeing “in

the field today.” Appx11549. That RaDaR had not immediately dominated the

market in the few weeks following its Medicare approval does not undermine the

district court’s finding that Natera faced a threat of irreparable harm.




                                          45
           Case: 24-1324      Document: 36    Page: 61   Filed: 03/11/2024




      B.        Natera Did Not Unreasonably Delay

      NeoGenomics misguidedly accuses Natera of delay in seeking an injunction.

Br.41-42. But Natera sought an injunction on July 31, 2023, just four days after

NeoGenomics announced Medicare coverage that made RaDaR “widely accessible

to millions.” Appx2442 ¶ 39; Appx887. NeoGenomics omits that critical date from

its timeline.     Br.42.   That spike in RaDaR’s availability threatened serious

additional harm. Appx2442 ¶ 39; Appx2504-05 ¶¶ 132-33. Indeed, the district court

commented that, “if [Natera] came in . . . and said that Medicare might approve this,

we need a preliminary injunction,” the court “would have said come back later.”

Appx21346 (15:12-14).

      Even measured from the ’035 Patent’s issuance in December 2022, Natera

sought a preliminary injunction within seven months. Appx33. Courts regularly

hold that far longer delays do not preclude a finding of irreparable harm. See, e.g.,

Advanced Commc’ns Design, Inc. v. Premier Retail Networks, Inc., 46 F. App’x 964,

983-84 (Fed. Cir. 2002) (12-month delay); Int’l Ass’n of Fire Fighters, Local 365 v.

City of East Chicago, 56 F.4th 437, 451 (7th Cir. 2022) (18-month delay); Cuviello

v. City of Vallejo, 944 F.3d 816, 833-34 (9th Cir. 2019) (17-month delay).

      In any event, while “delay” can be a relevant factor, a “showing of delay does

not preclude, as a matter of law, a determination of irreparable harm.” Hybritech

Inc. v. Abbott Labs., 849 F.2d 1146, 1457 (Fed. Cir. 1988).          It is “but one



                                         46
          Case: 24-1324     Document: 36      Page: 62   Filed: 03/11/2024




circumstance” to consider. Id. Here, the district court found Natera had “good

reason” for not suing NeoGenomics sooner: It was embroiled in other infringement

litigation. Appx17. Such circumstances can justify even “prolonged delay[s].”

Hybritech, 849 F.2d at 1457.

      NeoGenomics’ suggestion that Natera delayed in applying for the ’035 Patent

is irrelevant. Br.42. This Court’s precedents confirm that “delay” is measured from

the date of the patent’s issuance—here, December 2022. See, e.g., Apple, Inc. v.

Samsung Elecs. Co., Ltd., 678 F.3d 1314, 1325-26 (Fed. Cir. 2012) (measuring delay

from date of patent’s issuance). That makes sense: Natera could not have enforced

its patent rights until the patent issued. NeoGenomics did not dispute below that

delay should be measured from the date of issuance. Appx20315-17(162:21-164:7).

It cannot contest the issue for the first time on appeal. See Fresenius USA, Inc. v.

Baxter Int’l, Inc., 582 F.3d 1288, 1296 (Fed. Cir. 2009).4

      NeoGenomics asserts that, because of Natera’s purported delay, the injunction

now “change[s] . . . the status quo” by “remov[ing] . . . a product from the market.”

Br.42-43. NeoGenomics ignores that the district court carefully preserved the status

quo by exempting from the injunction virtually all ongoing use of RaDaR, including


4
  NeoGenomics protests that Natera applied for the ’035 Patent only after RaDaR
launched for research use. Br.42. But “there is nothing improper, illegal or
inequitable in filing a patent application for the purpose of obtaining a right to
exclude a known competitor’s product from the market.” Kingsdown Med.
Consultants, Ltd. v. Hollister Inc., 863 F.2d 867, 874 (Fed. Cir. 1988).

                                         47
           Case: 24-1324     Document: 36      Page: 63    Filed: 03/11/2024




all ongoing clinical studies, six studies about to begin, and tests of blood draws

already taken.       Appx23; Appx20911-17.         The injunction merely prohibits

NeoGenomics from disturbing the status quo by engaging in new, future infringing

uses of Natera’s patented technology, including substantial commercial uses made

possible by its new Medicare coverage. The injunction preserves rather than

disturbs the status quo. See Atlas Powder Co. v. Ireco Chems., 773 F.2d 1230, 1232

(Fed. Cir. 1985) (preliminary injunction “preserves the status quo if it prevents future

trespasses but does not undertake to assess the pecuniary or other consequences of

past trespasses”).

      C.     Natera’s Evidence of Future Lost Sales Was Sufficient

      NeoGenomics complains that “Natera could not show a single contract lost to

NeoGenomics.” Br.43. That statement is both irrelevant and wrong.

      A patentee is not required to suffer lost sales before seeking a preliminary

injunction to prevent lost sales. “The purpose of an injunction is to prevent future

violations and, of course, it can be utilized even without a showing of past wrongs.”

United States v. W.T. Grant Co., 345 U.S. 629, 633 (1953) (citation omitted)

(emphasis added).      This Court has approved injunctive relief, even without

substantial lost sales, where the patentee demonstrated a risk of future harm. See,

e.g., Trebro Mfg., Inc. v. Firefly Equip., LLC, 748 F.3d 1159, 1170 (Fed. Cir. 2014).




                                          48
           Case: 24-1324      Document: 36      Page: 64   Filed: 03/11/2024




      The evidence showed precisely that threat here. RaDaR and Signatera are

“direct competitors.” Appx14. Natera’s expert testified that RaDaR threatened to

deprive Natera of market share, independent market analysts agreed, and the district

court credited that evidence. Appx2500-05 ¶¶ 128-33; Appx7311. NeoGenomics’

Medicare approval amplified that threat exponentially.

      NeoGenomics’ argument is also factually incorrect. Natera has lost business

to RaDaR, as the district court found. Appx16. A Merck/Moderna study “used

[RaDaR] instead of Signatera.” Appx7933-34 ¶¶ 25-26. And AstraZeneca formerly

used Signatera for clinical trials but switched to RaDaR. Appx10784 (124:18-

125:8). As the district court found, those partnerships are important: They provide

clinical data validating a product’s effectiveness, enabling “entry into the larger

clinical marketplace.” Appx15. Even if prior lost sales were required, the district

court found past lost sales here.

      D.     NeoGenomics’ Infringement Has a Sufficient Causal Nexus

      The district court found ample evidence that Natera would suffer serious

harm, especially in the distinct “tumor-informed testing” market. Appx14-17.

NeoGenomics attacks the causal nexus between RaDaR’s infringement and that

harm, urging that the ’035 Patent does not claim “tumor-informed testing.” Br.44-

45. But NeoGenomics forfeited that argument by not raising it below. And the

district court’s findings are sufficient regardless.



                                           49
           Case: 24-1324    Document: 36     Page: 65    Filed: 03/11/2024




      1.    In the district court, NeoGenomics devoted just three sentences to its

causal nexus argument. Appx10503. And the argument it made differs from the one

it presses now. Below, NeoGenomics argued only that “[t]here is insufficient nexus

because RaDaR’s sales are driven by the sensitivity that comes from RaDaR’s 48

tumor-specific variants, and advanced bioinformatics, not Natera’s patents.”

Appx10503. That is the argument the district court addressed. Appx17.

      On appeal, NeoGenomics makes a different argument: that the district court

erred because it focused on the harm to Natera in the “tumor informed MRD market”

even though “tumor-informed testing is not a patented feature of the ’035 patent.”

Br.44-45. That is different from NeoGenomics’s argument below, which did not

even mention the ’035 Patent. Appx10503-04.

      A party forfeits an argument for appeal where it “fails to raise [the] argument

before the trial court, or presents only a skeletal or undeveloped argument.”

Fresenius, 582 F.3d at 1296. Moreover, an objection on a different ground below

“does not preserve all possible challenges to [the] finding.” Id. at 1296; see also

Sage Prods., Inc. v. Devon Indus., Inc., 126 F.3d 1420, 1426 (Fed. Cir. 1997). By

failing to make its current causal nexus argument below, or indeed any meaningful

causal nexus argument at all, NeoGenomics forfeited the argument.

      2.    In any case, the district court’s findings are sufficient. This Court

requires only “a showing of some causal nexus between [the] infringement and the



                                        50
           Case: 24-1324     Document: 36     Page: 66      Filed: 03/11/2024




alleged harm.” Apple, 678 F.3d at 1324 (emphasis added). The patented feature

need not “be the only basis of consumer demand.” TEK Glob., S.R.L. v. Sealant Sys.

Int’l, Inc., 920 F.3d 777, 792 (Fed. Cir. 2019) (emphasis added).

      Properly applying those standards, the district court found a “causal nexus

between the likely infringement and harm” because the “infringement allows

NeoGenomics to offer RaDaR as a tumor informed MRD assay.” Appx17-18. The

court thus specifically found that the patented features enabled RaDaR to compete

with Signatera in the tumor-informed testing market.             Appx17.        Far from

“confirm[ing] that any likely harm . . . would be caused by unclaimed features,”

Br.45, the court merely found harm in a specific market. RaDaR and Signatera are

both tumor-informed products. But the relevant point is that NeoGenomics could

not have offered RaDaR’s MRD assay at all without infringing—whether its

infringing product was tumor-informed or tumor-naïve—because the ’035 Patent

still would have covered RaDaR’s workflow. Appx10836-37 (98:18-104:25); see

Mylan, 857 F.3d at 872-73 (affirming causal nexus where infringing product “would

not be on the market if [infringer] had not obtained [FDA] approval for a product

that will likely be found to be covered by the patents”).

      This Court has found a sufficient causal nexus in similar cases. In Apple Inc.

v. Samsung Electronics Co., 809 F.3d 633 (Fed. Cir. 2015), for example, a jury found

that Samsung had infringed Apple’s patents covering critical iPhone features. 809



                                         51
          Case: 24-1324     Document: 36      Page: 67   Filed: 03/11/2024




F.3d at 637-38. The district court found no causal nexus because “Apple did not

show that the infringing features ‘drive consumer demand for Samsung’s infringing

products.’ ” Id. at 639, 641. This Court disagreed. Id. at 647. To prove a causal

nexus, it held, a patentee need not rule out other “available features” as driving

consumer demand. Id. at 641. All Apple had to show was that “the patented features

impact consumers’ decisions to purchase the accused devices.” Id. at 642. This

Court has repeatedly reaffirmed that principle. See, e.g., TEK Glob., 920 F.3d at 792

(“It was enough for TEK to show that a significant reason consumers bought its

device was the presence of the patented features.”).

      The record here showed a similar causal relationship between infringement

and harm. As Natera’s expert testified, the patented method is central to RaDaR’s

workflow—RaDaR cannot be used without infringing. Appx7590-612 ¶¶ 85-114;

Appx2458-59 ¶ 66; Appx17.       NeoGenomics advertised to potential customers,

including Natera’s customers, that RaDaR was an alternative to Signatera.

Appx2510-12 ¶ 143. That marketing and actual use as an alternative test were wholly

dependent on RaDaR’s infringement.         NeoGenomics’ claims about RaDaR’s

allegedly higher sensitivity are beside the point—RaDaR would not function at all

without infringing the ’035 Patent’s claims. The court was well within its discretion

to find that NeoGenomics’ infringement enabled RaDaR to compete with Signatera

and was significant in driving demand.



                                         52
           Case: 24-1324     Document: 36      Page: 68   Filed: 03/11/2024




      E.     The District Court Did Not Misapply This Court’s Precedents
             Regarding Two-Party Markets

      Nor did the district court “misread this Court’s precedent[s]” by improperly

“presuming irreparable harm for alleged two-competitor markets.” Br.45. Far from

imposing a “universal rule” that infringement in two-player markets automatically

creates irreparable harm, Br.45-46, the court stated only that “ ‘the existence of a

two-player market’ supports the granting of an injunction.” Appx16 (quoting Robert

Bosch LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1151 (Fed. Cir. 2011)) (emphasis

added). The court considered other factors too. Appx16-17.

      When denying a stay pending appeal, the district court confirmed that it never

applied the categorical rule NeoGenomics attributes to it. Appx21324. The court

explained it had considered numerous factors, including “the potential for lost

customers, profits, business relationships, and clinical opportunities, as well as lost

biopharmaceutical partnerships.” Appx21324 (citing Appx15-17). NeoGenomics

acknowledges that “[d]irect competition in the same market is certainly one factor

suggesting strongly the potential for irreparable harm.” Br.46 (quoting Presidio,

702 F.3d at 1363) (emphasis altered). That is how the district court treated the

factor—as one among many. Appx16-17.

      NeoGenomics disputes the district court’s finding that the tumor-informed

market is in fact “two-player.”       Br.47.    But it nowhere shows that factual

determination was clearly erroneous. NeoGenomics’ own expert testified that the


                                          53
           Case: 24-1324    Document: 36      Page: 69   Filed: 03/11/2024




market was two-player: Apart from “minor players,” he explained, Natera holds

“above 90%” market share and NeoGenomics the “residual.” Appx19518 (60:1-19).

NeoGenomics’ sources do not show otherwise. The investment bank report it cites

conflates tumor-informed test providers with tumor-naïve test providers like

Guardant. Appx7332; Appx4. And NeoGenomics’ reliance on Invitae defies reality.

Invitae was enjoined from selling its tumor-informed product and has attested that it

has complied with that injunction. Appx4 n.3; Natera, Inc. v. ArcherDX, Inc., Case

No. 1:20-cv-00125-GBW, Doc. 685 (D. Del. Jan. 5, 2024). While Invitae claims to

have developed a design-around product, it recently filed for bankruptcy. See In re

Invitae Corp., No. 24-11362 (Bankr. D.N.J. Feb. 13, 2024).

      The district court was not required to accept NeoGenomics’ assertion that

“Natera and NeoGenomics compete for different customers.” Br.47. The evidence

showed that NeoGenomics was “promoting RaDaR to Natera’s customers.”

Appx16. Multiple customers switched from Signatera to RaDaR. Appx7933-

34 ¶¶ 25-26; Appx10784 (124:18-125:8).

      F.     Natera’s Bond Does Not Foreclose Irreparable Harm

      Finally, NeoGenomics asserts—without authority—that “Natera’s requested

bond amount contradicts any alleged irreparable harm.” Br.48. That bond, however,

is designed to “protect NeoGenomics during the preliminary injunction,” not to

measure the harm to Natera from NeoGenomics’ infringement. Br.48-49. The bond



                                         54
            Case: 24-1324       Document: 36     Page: 70    Filed: 03/11/2024




amount sheds no light on Natera’s harm and whether it can be redressed by damages.

Moreover, Rule 65(c) requires a party to post security to obtain a preliminary

injunction. Fed. R. Civ. P. 65(c). Compliance with that requirement is not a

concession that damages are adequate.

IV.    THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION IN ADDRESSING
       THE REMAINING INJUNCTION FACTORS

       The district court also reasonably found that the public interest and balance of

equities favor an injunction.

       A.     The Public Interest Favors an Injunction

       This Court has “long acknowledged the importance of the patent system in

encouraging innovation.” Sanofi-Synthelabo, 470 F.3d at 1383. NeoGenomics

admits that “there exists a public interest in protecting rights secured by valid

patents.” Br.49 (quoting Hybritech, 849 F.2d at 1458). NeoGenomics asserts,

however, that the district court “lost sight” of patient interests. Br.49. But the district

court kept those countervailing interests squarely in view. The court carefully

tailored its injunction to protect the very interests NeoGenomics identifies. Appx19-

21; Appx22-23; Appx20915-17. And it found that any residual impact did not

outweigh protecting patent rights in these circumstances. Appx19-21.

       NeoGenomics’ attacks on the district court’s factual findings ignore the

demanding clear error standard that applies. See Apple, 809 F.3d at 639. For

example, NeoGenomics disputes the court’s finding that “patients ‘in need of a


                                            55
           Case: 24-1324     Document: 36      Page: 71   Filed: 03/11/2024




tumor informed MRD test will be able to get one from Natera.’ ” Br.51. But the

court cited evidence more than sufficient to support that finding. Appx20. It saw

no “satisfactory evidence that [RaDaR] is available for cancers for which Natera’s

product is not.” Appx21326. Moreover, evidence showed that Signatera is the most

clinically validated test on the market, with over 40 peer-reviewed publications

confirming that it identifies MRD significantly earlier than standard diagnostic tools.

Appx2471-72 ¶ 79; Appx2502-04 ¶ 131. And Signatera is the MRD test preferred by

a majority of oncologists. Appx16159.

      While NeoGenomics asserts that it is “being considered for Medicare

coverage for cancers . . . for which Natera has not even applied,” those pending

applications are not approvals. Br.51 (emphasis added). NeoGenomics is well

aware of the distinction, given that Medicare has previously rejected RaDaR for

coverage. See, e.g., Appx930; Appx2910.5

      NeoGenomics argues that “the record one-sidedly shows no current cancer

test can substitute for RaDaR” because of RaDaR’s “high sensitivity.” Br.49-51.

The district court found the opposite: “[I]t is not at all clear” that “RaDaR has a

higher sensitivity than Natera’s product.” Appx21325-26. NeoGenomics’ only



5
 Meanwhile, Signatera continues to receive Medicare approvals, making it available
to even more patients. See Press Release, Medicare Extends Coverage of Natera’s
SignateraTM MRD Test to Ovarian Cancer and Neoadjuvant Breast Cancer (Feb. 26,
2024), https://bit.ly/48u6Eor.

                                          56
           Case: 24-1324      Document: 36      Page: 72   Filed: 03/11/2024




support for its assertion of “high sensitivity” are affidavits from a single

NeoGenomics executive. Br.49-51 (citing Appx11279-89 ¶¶ 29-47; Appx20805-

07 ¶¶ 3-5). The affidavits repeatedly assert that RaDaR is more sensitive without

any proof. See, e.g., Appx11280-83 ¶¶ 31-33. Most of the cited portions concern

problems with switching from RaDaR to Signatera partway through an ongoing

clinical study (Appx11281-83 ¶¶ 31-34)—concerns rendered irrelevant by the

district court’s exclusion of ongoing studies from the injunction.             Appx23;

Appx20911-17.6

      As Natera’s expert explained, there are no “head-to-head studies comparing

the sensitivity and specificity of RaDaR™ against another MRD test” like Signatera.

Appx7565 ¶ 47; see Appx7294 (analyst report confirming that, “[t]o date, no study

has compared any commercial tests head to head”). Nor is there any other “evidence

that [RaDaR’s] claimed analytical sensitivity is validated or supported by clinical

data.” Appx7565 ¶ 47; see also Appx2512 ¶¶ 144-145. NeoGenomics’ assertions

rest on “a small analytical study using contrived cell line mixtures,” not “real clinical

samples,” and they are “not supported by subsequent evidence” from blinded


6
 NeoGenomics’ other sources provide no better support. The TD Cowen report is
an investment bank’s analysis that asserts—with no scientific or other support—that
RaDaR has a “sensitivity profile that can offer advantages over existing players.”
Appx7311 (emphasis added). A lone oncologist’s two-page letter touts RaDaR’s
sensitivity but identifies no support. Appx11860-61. And the “key opinion leader”
presentation concludes that RaDaR’s sensitivity is “imperfect.” Appx11683;
Appx11685; Appx11692.

                                           57
              Case: 24-1324   Document: 36    Page: 73   Filed: 03/11/2024




analytical studies or other clinical studies. Appx7932 ¶ 22. And although there are

no head-to-head studies, other evidence shows that Signatera is just as sensitive as

RaDaR. Appx7932 ¶ 22. Besides, sensitivity is just one factor oncologists consider

in deciding what test to use. See Appx7349 (listing seven other factors); Appx7932-

33 ¶ 23.    The district court was not required to credit NeoGenomics’ contrary

assertions.

       The district court also carefully tailored the injunction to mitigate any

remaining risk of harm. The injunction excludes “clinical trials and research projects

already in process as well as treatment for patients already using RaDaR.”

Appx21325; Appx22-25. The court also allowed six additional clinical trials that

had been “substantively finalized” but were not yet underway.            Appx30-31;

Appx20946. It was sensitive to the public interest and accommodated the very

concerns that NeoGenomics raised. The court permissibly found that the public

interest in protecting intellectual property rights was paramount.

       B.      The Equities Favor an Injunction

       NeoGenomics urges that the district court “discount[ed] the significant harm

the injunction is inflicting on NeoGenomics.” Br.52. But the court carefully

considered the hardships to each party and concluded that “[t]he harm to Natera if a

preliminary injunction is not granted outweighs the harm to NeoGenomics in

granting the injunction.” Appx18-19. That was not an abuse of discretion.



                                         58
           Case: 24-1324     Document: 36      Page: 74   Filed: 03/11/2024




      This Court regularly considers the “parties’ sizes, products, and revenue

sources” when balancing hardships. i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d

831, 862 (Fed. Cir. 2010), aff’d, 564 U.S. 91 (2011). That is what the district court

did. The court recognized that Signatera, Natera’s “most valuable offering,” is

expected to drive 52.1% of Natera’s revenue growth, making it a “major contributor

to Natera’s future success.” Appx18-19. RaDaR, by contrast, is “not a major

product in NeoGenomics’ portfolio,” representing just one of 600 cancer-detection

products. Appx19. NeoGenomics, moreover, is not projected to make material

revenue from MRD testing until 2025. Appx20854-55. NeoGenomics does not

explain why its interests outweigh Natera’s interest in protecting its most valuable

product.

      NeoGenomics complains that the district court should have considered its

“substantial investment to acquire RaDaR.” Br.52. Not so: “[E]xpenses incurred

in creating the infringing product[ ]” are irrelevant. Bio-Rad Labs., 967 F.3d at 1378.

And Natera also invested heavily. Appx7927 ¶ 11. NeoGenomics invokes its “years

of research.” Br.52. That is just another way of touting NeoGenomics’ investment

in an infringing product. Natera, the first mover, invested extraordinary time and

resources in developing the patented method and overcoming skepticism of the

technology—efforts on which NeoGenomics now seeks to free-ride. Appx7925-




                                          59
           Case: 24-1324      Document: 36    Page: 75   Filed: 03/11/2024




7930 ¶¶ 5-18; Appx22-25; Appx21325. No infringer has a legitimate interest in

commercializing someone else’s invention.

      NeoGenomics urges that its “tiny market foothold” may be unrecoverable.

Br.52. But the injunction already preserves that foothold. Regardless, an “alleged

infringer’s loss of market share and customer relationships, without more, does not

. . . overcome the loss of exclusivity experienced by a patent owner due to infringing

conduct.” Pfizer, Inc. v. Teva Pharms., USA, Inc., 429 F.3d 1364, 1382 (Fed. Cir.

2005). And if NeoGenomics’ assertions of RaDaR’s superiority were true—they are

not—then RaDaR should have no difficulty penetrating the market if NeoGenomics

ultimately prevails. Regardless, the $10 million bond Natera posted—a year’s worth

of NeoGenomics’ revenue from its MRD-testing business—greatly mitigates any

potential harm. Appx22-23; Appx20916; Appx21323-26.

V.    THE COURT DID NOT ABUSE ITS DISCRETION WITH RESPECT TO THE
      SCOPE OF THE INJUNCTION

      NeoGenomics challenges the injunction’s scope, urging that the district court

should not have prohibited it from “making” or “selling” RaDaR in the United States

except when that product is “used” in the United States. Br.53-56. That argument

is forfeited and meritless.




                                         60
            Case: 24-1324      Document: 36       Page: 76    Filed: 03/11/2024




       A.     NeoGenomics Forfeited Any Complaint About the Preliminary
              Injunction’s Scope

       NeoGenomics forfeited its challenge to the injunction’s scope by not timely

raising the objection in the district court. This Court will “decline[ ] to review [an]

argument that the scope of the preliminary injunction is overbroad” where a party

“did not raise th[e] objection before the district court.” Celsis In Vitro, 664 F.3d at

932; see also O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 449 F. App’x 923,

934 (Fed. Cir. 2011) (party “waive[s] its right to appeal” injunction’s scope if it

“failed to raise before the district court any of [its] overbreadth and extraterritorial[ity]

arguments”); Philip Morris, Inc. v. Harshbarger, 159 F.3d 670, 680 (1st Cir. 1998)

(“As a general rule, a disappointed litigant cannot surface an objection to a

preliminary injunction for the first time in an appellate venue.”). NeoGenomics did

not timely preserve its objection here.

       Three days after filing this case in July 2023, Natera sought an injunction,

proposing the same language NeoGenomics is now complaining about.                        See

Appx891-92 (seeking an injunction against “making, using, selling, offering for sale

in the United States” RaDaR or any similar product). NeoGenomics never once

complained about that language over many months of litigation. In December 2023,

the district court entered an injunction with that exact same language. Appx22-23.

       After the court entered that injunction, NeoGenomics moved to modify the

injunction to remove the language. Appx20783-85; Appx20794-96. But as the


                                             61
             Case: 24-1324   Document: 36     Page: 77   Filed: 03/11/2024




district court observed when denying that motion, “NeoGenomics had months to

review Natera’s proposed preliminary injunction order, . . . yet NeoGenomics did

not raise a murmur of opposition to or concern about the language it now

challenges.” Appx21329. NeoGenomics’ failure to timely assert its objection in the

district court forecloses review here.

      NeoGenomics asserts that it was not required to make its objection sooner

because, while Natera’s “cover motion . . . mouthed a broad request,” the legal

memorandum did not elaborate on it. Br.53. That argument misses the point. If the

proposed injunction sought unwarranted relief the legal memorandum did not

support, that should have been all the more reason to object. NeoGenomics said

nothing to alert the district court to any concern. The language NeoGenomics now

challenges was not tucked away somewhere inconspicuous; it was on the face of the

three-page proposed injunction that Natera submitted (as well as the two-page cover

motion). Appx891-93; Appx887-88. NeoGenomics has no excuse for not timely

objecting.

      NeoGenomics cannot avoid the consequences of its neglect by moving to

modify the injunction after the fact. See Carborundum Co. v. Molten Metal Equip.

Innovations, Inc., 72 F.3d 872, 882 (Fed. Cir. 1995) (affirming denial of infringer’s

motion to modify injunction because infringer “fail[ed] to object to the scope of the

permanent injunction [during] the trial”); Favia v. Ind. Univ. of Pa., 7 F.3d 332, 338



                                         62
            Case: 24-1324     Document: 36       Page: 78    Filed: 03/11/2024




(3d Cir. 1993) (“A motion to modify a preliminary injunction is meant only to relieve

inequities that arise after the original order.”). In any event, the district court’s well-

reasoned denial of NeoGenomics’ motion to modify is not before this Court, having

been issued after this appeal was underway. Appx21329. The only decision before

the Court is the original preliminary injunction order, issued when NeoGenomics

had not said a word about its current complaints.

       B.     The District Court Did Not Abuse Its Discretion

       The district court did not abuse its discretion regardless. “[D]istrict courts are

in the best position to fashion an injunction tailored to prevent or remedy

infringement.” Broadcom Corp. v. Emulex Corp., 732 F.3d 1325, 1339 (Fed. Cir.

2013). Although this Court has “discouraged judicial restraint of noninfringing

activities,” it has “never barred it outright and instead ha[s] repeatedly stated that

district courts are in the best position to fashion an injunction tailored to prevent or

remedy infringement.” TiVo Inc. v. EchoStar Corp., 646 F.3d 869, 890 n.9 (Fed.

Cir. 2011) (en banc). Consistent with those principles, this Court has upheld

injunctions against “making” or “selling” articles to prevent infringing “use” of a

patented method.

       In BlephEx, LLC v. Myco Industries, Inc., 24 F.4th 1391 (Fed. Cir. 2022), for

example, the patent claimed a method for treating an eye disorder. Id. at 1394-95.

After a competitor marketed a product for treating the disorder, the patentee sued.



                                            63
           Case: 24-1324     Document: 36     Page: 79   Filed: 03/11/2024




Id. at 1395. The district court enjoined the infringer from “selling, distributing, or

offering to sell or distribute” the product. Id. The accused infringer challenged the

injunction, arguing that it went beyond infringing use by prohibiting “all domestic

sales.” Id. at 1405 (emphasis added). This Court rejected that argument, finding no

abuse of discretion in “bar[ring] all domestic sales” because the injunction was

“necessary to avoid future infringement.” Id. at 1406; see also Hilgraeve Corp. v.

Symantec Corp., 265 F.3d 1336, 1343 (Fed. Cir. 2001) (“sale of a device may induce

infringement”).

      This case is no different. The record shows that RaDaR cannot function

without practicing the patented method.         Appx7590-612 ¶¶ 85-114; Appx6-7.

NeoGenomics alludes to hypothetical non-infringing uses, such as performing the

allegedly infringing steps overseas. Br.53. But, as the district court found when

denying the motion to modify the injunction, there is no evidence that anyone

actually uses RaDaR in that, or any other, non-infringing manner. Appx21328-29.

NeoGenomics made “no showing that when it uses RaDaR any of the steps in the

’035 patent method are performed abroad.” Appx21329. And “NeoGenomics never

presented an argument during the preliminary injunction proceedings that it was not

infringing the ’035 method because it performed steps overseas, an argument it made

repeatedly as to the ’454 patent.” Appx21329.




                                         64
          Case: 24-1324     Document: 36      Page: 80   Filed: 03/11/2024




      The district court was not required to tailor its preliminary injunction to

accommodate these hypothetical non-infringing uses. The court did not abuse its

discretion in entering the injunction Natera proposed.

                                 CONCLUSION

      This Court should affirm the district court’s preliminary injunction.



March 11, 2024                           Respectfully submitted,



                                      /s/ Jeffrey A. Lamken
Victoria F. Maroulis                Jeffrey A. Lamken
Kevin P.B. Johnson                  Robert K. Kry
QUINN EMANUEL URQUHART              Lauren M. Weinstein
  & SULLIVAN, LLP                   Walter H Hawes IV
555 Twin Dolphin Shores, Floor 5    MOLOLAMKEN LLP
Redwood Shores, CA 94065            The Watergate, Suite 500
(650) 801-5000 (telephone)          600 New Hampshire Avenue, N.W.
(650) 801-5100 (fax)                Washington, D.C. 20037
victoriamaroulis@quinnemanuel.com (202) 556-2000 (telephone)
                                    (202) 556-2001 (fax)
Sandra L. Haberny                   jlamken@mololamken.com
QUINN EMANUEL URQUHART
  & SULLIVAN, LLP                   Sara E. Margolis
865 South Figueroa Street, Floor 10 Jonathan E. Barbee
Los Angeles, CA 90017               MOLOLAMKEN LLP
(213) 443-3000 (telephone)          430 Park Avenue, Floor 6
(213) 443-3100 (fax)                New York, NY 10022
                                    (212) 607-8160 (telephone)
                                    (212) 607-8161 (facsimile)

                        Counsel for Appellee Natera, Inc.
                     (Additional Counsel Listed on Next Page)



                                         65
         Case: 24-1324     Document: 36   Page: 81   Filed: 03/11/2024




Kevin A. Smith
Tara Srinivasan
QUINN EMANUEL URQUHART
  & SULLIVAN, LLP
50 California Street, Floor 22
San Francisco, CA 94111
(415) 875-6600 (telephone)
(415) 875-6700 (fax)

Counsel for Appellee Natera, Inc.




                                     66
              Case: 24-1324        Document: 36         Page: 82        Filed: 03/11/2024



FORM 19. Certificate of Compliance with Type-Volume Limitations                              Form 19
                                                                                            July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 24-1324, 24-1409

  Short Case Caption: Natera, Inc. v. NeoGenomics Laboratories, Inc.

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

        ✔       the filing has been prepared using a proportionally-spaced typeface
                and includes __________
                               13,907    words.

                the filing has been prepared using a monospaced typeface and includes
                __________ lines of text.

                the filing contains __________ pages / __________ words / __________
                lines of text, which does not exceed the maximum authorized by this
                court’s order (ECF No. __________).


        3/11/2024
  Date: _________________                       Signature:        /s/ Jeffrey A. Lamken


                                                Name:             Jeffrey A. Lamken
